Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 1 of 58 PageID #:2402




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS

IN RE SURESCRIPTS ANTITRUST
LITIGATION
                                        Civil Action No. 1:19-cv-06627

This Document Relates To:

All Class Actions



   PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO SURESCRIPTS AND
 ALLSCRIPTS DEFENDANTS’ MOTIONS TO DISMISS PLAINTIFFS’ SECOND
        AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
   Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 2 of 58 PageID #:2403




                                                   TABLE OF CONTENTS


INTRODUCTION ...........................................................................................................................1

SUMMARY OF FACTS .................................................................................................................4

STANDARD OF REVIEW .............................................................................................................8

ARGUMENT……………………………………………………………………………………...8




                     Illinois Brick does not bar Plaintiffs’ claims............................................................9

                                The economic reality of the market shows that Plaintiffs—pharmacies—
                                pay Surescripts for e-prescription routing…………………………………9

                                Plaintiffs have federal damages claims as the first innocent purchasers. ..12

                     Plaintiffs are the proper parties under Associated General Contractors. ..............14




                     Anticompetitive exclusivity contracts are the predominant mechanism of
                     exclusion. ...............................................................................................17

                     Surescripts’ claim that the exclusivity contracts and “loyalty programs” were
                     “optional” does not negate the fact that they are anticompetitive. ........................20




                     Plaintiffs have sufficiently pled a naked restraint of trade sufficient for per se
                     treatment. ...............................................................................................................24

                     Alternatively, Plaintiffs have sufficiently pled an anticompetitive restraint of trade
                     under the Rule-of-Reason. .....................................................................................27




                                                                       i
   Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 3 of 58 PageID #:2404




                     Plaintiffs adequately plead market power and actual detrimental effects on
                     competition. ...........................................................................................................31

                     Plaintiffs adequately allege substantial foreclosure...............................................33




                     Named plaintiffs can assert claims under the laws of states where they did not do
                     business on behalf of putative class members. ......................................................38

                     Defendants’ other arguments for dismissal of Plaintiffs’ state law claims are
                     baseless. .................................................................................................................41

                     1.         Plaintiffs may assert Illinois and Montana claims on behalf of a Class. ...41

                     2.         Plaintiffs can assert claims under Utah’s antitrust law. .............................42

                     3.         Plaintiffs may seek damages under Connecticut, Maryland, and Rhode
                                Island antitrust laws. ..................................................................................43

                     4.         Surescripts monopolized the relevant market through concerted action in
                                violation of California and New York law. ...............................................43

                     5.         Plaintiffs can recover under the Missouri Merchandise Practices Act. .....44

CONCLUSION..............................................................................................................................45




                                                                       ii
   Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 4 of 58 PageID #:2405




                                               TABLE OF AUTHORITIES

Cases

Albert H. Cayne Equip. Corp. v. Union Asbestos & Rubber Co.,
  220 F. Supp. 784 (S.D.N.Y. 1963) ........................................................................................... 38

Am. Tobacco Co. v. United States,
  328 U.S. 781 (1945).................................................................................................................. 22

Anderson News LLC v. American Media, Inc.,
  680 F.3d 162 (2d. Cir. 2012) .................................................................................................... 38

Asahi Kasei Pharma Corp. v. CoTherix, Inc.,
  204 Cal. App. 4th 1 (Cal. Ct. App. 2012) ................................................................................. 44

Ashcroft v. Iqbal,
  556 U.S. 662 (2009).................................................................................................................... 8

Associated Gen. Contractors v. Cal. State Council of Carpenters,
  459 U.S. 519 (1983)........................................................................................................... passim

BASF AG v. Great Am. Assur. Co.,
  522 F.3d 813 (7th Cir. 2008) ...................................................................................................... 8

Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007).................................................................................................................... 8

Blackburn v. Sweeney,
  53 F.3d 825 (7th Cir. 1995) ................................................................................................ 24, 27

Blue Shield of Va. v. McCready,
  457 U.S. 465 (1982).................................................................................................. 9, 10, 11, 12

Brooke Group Ltd. v. Brown & Williamson Tobacco Corp.,
  509 U.S. 209 (1993).................................................................................................................. 20

Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc.,
  429 U.S. 477 (1977).................................................................................................................... 8

Car Carriers, Inc. v. Ford Motor Co.,
  745 F.2d 1101 (7th Cir. 1984) .................................................................................................. 37

City of Rockford v. Mallinckrodt ARD, Inc.,
  360 F. Supp. 3d 730 (N.D. Ill. 2019) ................................................................................. passim



                                                                    iii
   Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 5 of 58 PageID #:2406




Colby v. J.C. Penney Co., Inc.,
  811 F.2d 1119 (7th Cir. 1987) .................................................................................................. 17

Collins v. Associated Pathologists, Ltd.,
  884 F.2d 473 (7th Cir. 1988) .................................................................................................... 20

Cont’l Ore Co. v. Union Carbide & Carbon Corp.,
  370 U.S. 690 (1962).................................................................................................................. 27

Cont’l T.V. v. GTE Sylvania,
  433 U.S. 36 (1977).................................................................................................................... 29

Contractor Utility Sales Co. v. Certain-Teed Products Corp.,
  638 F.2d 1061 (7th Cir. 1981) .................................................................................................. 25

DaimlerChrysler Corp. v. Cuno,
  547 U.S. 332 (2006).................................................................................................................. 40

Dickson v. Microsoft Corp.,
  309 F.3d. 193 (4th Cir. 2002) ................................................................................. 29, 32, 33, 34

Dos Santos v. Columbus-Cuneo-Cabrini Med. Ctr.,
  684 F.2d 1346 (7th Cir. 1982) .................................................................................................. 30

Eastman Kodak Co. v. Image Tech. Servs., Inc.,
  504 U.S. 451 (1992).................................................................................................................. 31

Fed. Trade Comm’n v. Vyera Pharm., LLC,
  No. 20-cv-706, 2020 WL 4891311 (S.D.N.Y. Aug. 18, 2020) ................................................ 36

Fontana Aviation, Inc. v. Cessna Aircraft Co.,
  617 F.2d 478 (7th Cir. 1980) .................................................................................................... 12

FTC v. Ind. Fed’n of Dentists,
  476 U.S. 447 (1986).................................................................................................................. 32

FTC v. Mylan Lab., Inc.,
  62 F. Supp. 2d 25 (D.D.C. 1999).............................................................................................. 45

FTC v. Surescripts, LLC,
  No. 19-1080, 2020 U.S. Dist. LEXIS 8360 (D.D.C. Jan. 17, 2020).................................. passim

Gaebler v. New Mexico Potash Corp.,
  676 N.E.2d 228 (1996) ............................................................................................................. 42

General Leaseways, Inc. v. National Truck Leasing Assoc.,
  744 F.2d 588 (7th Cir. 1984) .................................................................................................... 24

                                                                    iv
   Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 6 of 58 PageID #:2407




Genetic Systems Corp. v. Abbot Labs,
  691 F. Supp. 407 (D.D.C. 1988)......................................................................................... 34, 35

Gravity, Inc. v. Microsoft Corp.,
  127 F. Supp. 2d 728 (D. Md. 2001).......................................................................................... 23

Hatchett v. Henry Schein, Inc.,
  No. 3:19-CV-83, 2020 WL 733834 (S.D. Ill. Feb. 13, 2020)................................................... 41

Hosp. Auth. of Metro. Gov’t of Nashville v. Momenta Pharm., Inc.,
  353 F. Supp. 3d 678 (M.D. Tenn. 2018)................................................................................... 42

Howard Hess Dental Labs Inc. v. Dentsply Int’l, Inc.,
  602 F.3d 237 (3d Cir. 2010) ..................................................................................................... 22

Illinois Brick Co. v. Illinois,
   431 U.S. 720 (1977)........................................................................................................... passim

Immanuel Baptist Church v. City of Chicago,
  344 F. Supp. 3d 978 (N.D. Ill. 2018) .......................................................................................... 8

In re Aluminum Warehousing Antitrust Litig.,
   833 F.3d 151 (2d Cir. 2016) ..................................................................................................... 15

In re Brand Name Prescription Drugs Antitrust Litig.,
   123 F.3d 599 (7th Cir. 1997) .................................................................................................... 12

In re Broiler Chicken Antitrust Litig.,
   290 F. Supp. 3d 772 (N.D. Ill. 2017) ............................................................................ 40, 41, 42

In re Dairy Farmers of America Inc. Cheese Antitrust Litig.,
   No. 9 CV 3690, 2013 WL 4506000 (N.D. Ill. Aug. 23, 2013)................................................. 40

In re Dealer Mgmt. Sys. Antitrust Litig.,
   360 F. Supp. 3d 788 (N.D. Ill. 2019) ............................................................................ 19, 30, 40

In re Delta Dental Antitrust Litig.,
   No. 19-cv-6734, 2020 WL 5296996 (N.D. Ill. Sept. 4, 2020).................................................. 24

In re Ductile Iron Pipe Fittings (DIPF) Direct Purchaser Antitrust Litig.,
   No. CIV. 12-711, 2013 WL 812143 (D.N.J. Mar. 5, 2013) ..................................................... 24

In re Effexor Antitrust Litig.,
   357 F. Supp. 3d 363 (D.N.J. 2018) ........................................................................................... 44

In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Practices & Antitrust Litig.,
   336 F. Supp. 3d 1256 (D. Kan. 2018)................................................................................. 43, 44

                                                                   v
   Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 7 of 58 PageID #:2408




In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig.,
   383 F. Supp. 3d 187 (S.D.N.Y. 2019) ...................................................................................... 44

In re Magnesium Oxide Antitrust Litig.,
   No. 10-cv-5943, 2011 WL 5008090 (D.N.J. Oct. 20, 2011) .................................................... 25

In re Microsoft Crop. Antitrust Litigation,
   127 F. Supp. 2d 702 (D. Md. 2001).......................................................................................... 10

In re Opana ER Antitrust Litig.,
   162 F. Supp. 3d 704 (N.D. Ill. 2016) .................................................................................. 39, 40

In re Packaged Seafood Prod. Antitrust Litig.,
   242 F. Supp. 3d 1033 (S.D. Cal. 2017).................................................................................... 41

In re Plasma-Derivative Protein Therapies Antitrust Litig.,
   No. 09-cv-7666, 2012 WL 39766 (N.D. Ill. Jan. 9, 2012)........................................................ 16

In re Sulfuric Acid Antitrust Litig.,
   743 F. Supp. 2d 827 (N.D. Ill. 2010) ........................................................................................ 28

In re Surescripts Antitrust Litig.,
   19-cv-6627, 2020 U.S. Dist. LEXIS 150584 (N.D. Ill. Aug. 19, 2020) ................................... 10

In re TFT-LCD (Flat Panel) Antitrust Litig.,
   No. M 07-1827, 2011 WL 3268649 (N.D. Cal. July 28, 2011)................................................ 44

In re Zetia (Ezetimibe) Antitrust Litig.,
   No. 2:18-MD-2836, 2019 WL 1397228 (E.D. Va. Feb. 6, 2019) ...................................... 22, 42

Isaksen v. Vt. Castings, Inc.,
   825 F.2d 1158 (7th Cir. 1987) .................................................................................................. 37

Kendall v. Visa USA, Inc.,
  518 F.3d 1042 (9th Cir. 2008) .................................................................................................. 38

Klor’s, Inc. v. Broadway-Hale Stores, Inc.,
  359 U.S. 207 (1959)............................................................................................................ 25, 29

Leegin Creative Leather Prods., Inc. v. PSKS, Inc.,
  551 U.S. 877 (2007).................................................................................................................. 25

Lektro-Vend Corp. v. Vendo Co.,
  660 F.2d 255 (7th Cir. 1981) .................................................................................................... 23

Lewis v. Casey,
  518 U.S. 343 (1996)............................................................................................................ 39, 40

                                                                   vi
   Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 8 of 58 PageID #:2409




Lexmark Int’l, Inc. v. Static Control Components, Inc.,
  572 U.S. 118 (2014).................................................................................................................. 39

Liston v. King.com, Ltd.,
  254 F. Supp. 3d 989 (N.D. Ill. 2017) .................................................................................. 39, 40

Marion Healthcare, LLC v. Becton Dickinson & Co.,
 952 F.3d 832 (7th Cir. 2020) .............................................................................................. 13, 36

McGarry & McGarry, LLC v. Bankr. Mgmt. Sols., Inc.,
 937 F.3d 1056 (7th Cir. 2019) .................................................................................................. 39

MCM Partners, Inc. v. Andrews-Bartlett & Assocs., Inc.,
 62 F.3d 967 (7th Cir. 1995) ...................................................................................................... 37

McWane, Inc. v. F.T.C.,
 783 F.3d 814 (11th Cir. 2015) ...................................................................................... 19, 33, 34

MiniFrame Ltd. v. Microsoft Corp.,
  No. 11 CIV. 7419, 2013 WL 1385704 (S.D.N.Y. Mar. 28, 2013) ........................................... 44

Monsanto Co. v. Spray-Rite Serv. Corp.,
 465 U.S. 752 (1984).................................................................................................................. 38

Morrison v. YTB Int’l, Inc.,
 649 F.3d 533 (7th Cir. 2011) .................................................................................................... 39

Muir v. Nature’s Bounty (DE), Inc.,
 No. 15 C 9835, 2018 WL 3647115 (N.D. Ill. Aug. 1, 2018).............................................. 39, 40

N. Cty. Commc’ns Corp. v. Verizon New York, Inc.,
   233 F. Supp. 2d 381 (N.D.N.Y. 2002)..................................................................................... 44

NYNEX Corp. v. Discon, Inc.,
  525 U.S. 128 (1998).................................................................................................................. 25

Ohio v. American Express Co.,
  138 S. Ct. 2274 (2018).............................................................................................................. 28

Ohio-Sealy Mattress Mfg. Co. v. Sealy, Inc.,
  585 F.2d 821 (7th Cir. 1978) .............................................................................................. 27, 28

Palmer v. BRG of Georgia, Inc.,
  498 U.S. 46 (1990).................................................................................................................... 24

Paper Sys. v. Nippon Paper Indus. Co.,
  281 F.3d 629 (7th Cir. 2002) ................................................................................................ 9, 12

                                                                   vii
   Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 9 of 58 PageID #:2410




Payton v. Cty. of Kane,
  308 F.3d 673 (7th Cir. 2002) .............................................................................................. 39, 40

Penn. Dental Ass’n v. Med. Serv. Ass’n of Penn.,
  745 F.2d 248 (3d Cir. 1984) .................................................................................................... 22

Polk Bros. v. Forest City Enterprises, Inc.,
  776 F.2d 185 (7th Cir. 1985) .............................................................................................. 26, 28

Procaps S.A. v. Patheon, Inc.,
  845 F.3d 1072 (11th Cir. 2016) ................................................................................................ 34

Republic Tobacco Co. v. N. Atl. Trading Co.,
  381 F.3d 717, 738 (7th Cir. 2004) ........................................................................................... 30

Sandee’s Catering v. Agri Stats, Inc.,
  No. 20 C 2295, 2020 WL 6273477 (N.D. Ill. Oct. 26, 2020)................................................... 40

Sanner v. Board of Trade,
  62 F.3d 918 (7th Cir. 1995) ................................................................................................ 12, 14

Schor v. Abbott Labs,
  457 F.3d 608 (7th Cir. 2006) .................................................................................................... 19

Sergeants Benevolent Ass’n Health & Welfare Fund v. Actavis, plc,
  No. 15 CIV. 6549, 2018 WL 7197233 (S.D.N.Y. Dec. 26, 2018) .......................................... 43

Shady Grove Orthopedic Assocs. v. Allstate Insurance Co.,
  559 U.S. 393 (2010).................................................................................................................. 41

Spray-Rite Serv. Corp. v. Monsanto Co.,
  684 F.2d 1226 (1982)................................................................................................................ 30

Staley v. Gilead Scis., Inc.,
  446 F. Supp. 3d 578 (N.D. Cal. 2020) ................................................................................ 42, 44

State ex rel. Ford v. Wenskay,
  824 S.W.2d 99 (Mo. Ct. App. 1992)......................................................................................... 45

Steel Co. v. Citizens for a Better Env’t,
   523 U.S. 83 (1998).................................................................................................................... 39

Stewart Glass & Mirror, Inc. v. U.S. Auto Glass Disc. Ctrs., Inc.,
   200 F.3d 307 (5th Cir. 2000) .................................................................................................... 38

Tamburo v. Calvin,
  No. 94 C 5206, 1995 WL 121539 (N.D. Ill. Mar. 17, 1995) .................................................... 27

                                                                   viii
  Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 10 of 58 PageID #:2411




Tampa Electric Co. v. Nashville Coal Co.,
  365 U.S. 320 (1961)............................................................................................................ 20, 30

Truck-Rail Handling, Inc. v. Burlington N. & Santa Fe Ry. Co.,
  244 F. App'x 130 (9th Cir. 2007).............................................................................................. 23

TV Commc’ns Network, Inc. v. Turner Network Television, Inc.,
  964 F.2d 1022 (10th Cir. 1992) ................................................................................................ 23

United States v. Andreas,
  216 F.3d 645 (7th Cir. 2000) .................................................................................................... 26

United States v. Dentsply International, Inc.,
  399 F.3d 181 (3d Cir. 2005) .................................................................................................... 33

United States v. Grinnell Corp.,
  384 U.S. 563 (1966).................................................................................................................. 19

United States v. Microsoft Corp.,
  253 F.3d 34 (D.C. Cir. 2001).............................................................................................. 15, 19

United States v. Nunez,
  673 F.3d 661 (7th Cir. 2012) .................................................................................................... 36

United States v. Paramount Pictures, Inc.,
  334 U.S. 131 (1948).................................................................................................................. 37

United States v. Topco Associates,
  405 U.S. 596 (1972).................................................................................................................. 24

Viamedia, Inc. v. Comcast Corp.,
  No. 18-2852, 2020 U.S. App. LEXIS 5469 (7th Cir. Feb. 24, 2020) ................................. 16, 30

Wagner v. Magellan Health Servs., Inc.,
 121 F. Supp. 2d 673 (N.D. Ill. 2000) ........................................................................................ 22

Watkins v. Smith,
 2012 WL 5868395 (S.D.N.Y. Nov. 19, 2012).......................................................................... 30

Wilson P. Abraham Const. Corp. v. Texas Indus., Inc.,
  604 F.2d 897 (5th Cir. 1979) .................................................................................................... 36

Woodman’s Food Mkt., Inc. v. Clorox Co.,
 833 F.3d 743 (7th Cir. 2016) .................................................................................................... 39

Zemeckis v. Global Credit & Collection Corp.,
  679 F.3d 632 (7th Cir. 2012) ...................................................................................................... 8

                                                                   ix
  Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 11 of 58 PageID #:2412




ZF Meritor, LLC v. Eaton Corp.,
  696 F.3d 254 (3d Cir. 2012) ......................................................................................... 19, 23, 33
Other Authorities
1 H. Newberg & A. Conte, Newberg on Class Actions § 2.07(3d ed.1992) ................................ 40
California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq ......... 43
Illinois Antitrust Act ............................................................................................................... 41, 42
Montana’s Unfair Trade Practices and Consumer Protection Act................................................ 42
Sherman Act........................................................................................................................... passim
Rules
Rule 12 .................................................................................................................................... 13, 37
Rule 23 .................................................................................................................................... 40, 41




                                                                        x
    Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 12 of 58 PageID #:2413




                                          INTRODUCTION

          Plaintiffs’ Second Consolidated Amended Complaint (“SAC”) alleges that Defendant

Surescripts is a monopolist with at least a 95% market share in both the e-prescription routing

and eligibility markets.1 Plaintiffs are nine independent pharmacies who contend they paid more

on routing transactions—Surescripts charges pharmacies a fee for each one—than they would

have absent Defendants’ misconduct. Plaintiffs allege that Surescripts has maintained its

dominant market status (and high pricing) over the last decade not through business acumen, but

instead through an anticompetitive scheme—aided by Defendants RelayHealth and Allscripts

and co-conspirator pharmacy technology vendors (“PTVs”)—that effectively foreclosed more

than 70% of both markets.2

          Defendants’ motions3 improperly (1) attempt to recast facts alleged in the SAC in the

light most favorable to Defendants, (2) assert facts not contained in the SAC, (3) and argue

inferences against Plaintiffs. Each argument for dismissal hinges on fact-intensive issues

inappropriate for a Rule 12(b)(6) motion to dismiss for failure to state a claim. The Court should

deny the motions entirely.

          First, the named Plaintiffs are proper parties to this litigation. Nothing in Illinois Brick

Co. v. Illinois, 431 U.S. 720 (1977) or its progeny forecloses Plaintiffs’ federal damages claims

where, as here, Plaintiffs are purchasers in a non-traditional chain of distribution that includes

ancillary companies (i.e., PTVs) that cannot themselves recover federal overcharges on the same


1
    SAC ¶¶ 1-4, ECF No. 148.
2
    Id., ¶¶ 4-12, 141-197, 224-235.
3
  Allscripts Healthcare Solutions, Inc.’s Mem. of Law in Supp. of Its Mot. to Dismiss, ECF No. 161 (N.D.
Ill. Dec. 4, 2020) (“Allscripts Mem.”); Surescripts’ Mem. in Supp. of Its Mot. to Dismiss, ECF No. 165
(N.D. Ill. Dec. 4, 2020) (“Surescripts Mem.”).


                                                    1
    Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 13 of 58 PageID #:2414




transactions. Further, backed by Defendants’ own documents, Plaintiffs have alleged unique and

specific facts that show that the relevant PTV “intermediaries” are co-conspirators to the scheme

here,4 making Plaintiffs the “first innocent purchasers” and thereby allowing for damages claims

under federal antitrust law.

         Second, as the court in the parallel action brought by the Federal Trade Commission

(FTC), FTC v. Surescripts, LLC, No. 19-1080, 2020 U.S. Dist. LEXIS 8360 (D.D.C. Jan. 17,

2020) (Bates, J.) (“Surescripts I”), has already found, Surescripts’s exclusionary pricing policy

and other anticompetitive contractual arrangements have allowed it to illegally maintain a

monopoly. Id. at *6 (rejecting Surescripts’s argument that Plaintiffs must allege predatory

pricing to maintain a monopolization claim). More specifically, the court found that Surescripts

has successfully used its monopoly power to block new entrants, leaving it free to continue to

charge supracompetitive prices. Id. at *21-27. Plaintiffs here, too, have properly pled illegal

monopolization in Counts I (federal) and V (state).

         Third, Plaintiffs have pled a viable conspiracy to monopolize claim against Surescripts

and RelayHealth in Counts II (federal) and VI (state). The SAC alleges that before 2010,

RelayHealth was well situated to enter the routing market as a competitor to Surescripts. Such a

change in the market would have drastically decreased the price that Surescripts—or any

competitor—could charge its customers. But, recognizing the threat that RelayHealth posed to

its business, Surescripts, in 2010 and 2015, entered into two contracts with RelayHealth.

Pursuant to those contracts, which were designed to maintain Surescripts’ routing market

monopoly, RelayHealth agreed not to enter the routing market and compete with Surescripts in

exchange for receiving a greater share of the monopoly prices being charged to pharmacies.


4
    SAC ¶¶ 67-92.


                                                 2
  Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 14 of 58 PageID #:2415




        Fourth, Plaintiffs have adequately alleged a section 1 restraint of trade claim against

Surescripts and RelayHealth in Counts III (federal) and VII (state). Plaintiffs allege that (1)

RelayHealth had the financial wherewithal, customer relations, and experience in an adjacent

market to out-compete Surescripts in the routing market, and that it would have done so but for

the agreement at issue; (2) a competitive e-prescription routing market would have resulted in

transaction prices of 1 to 3 cents, far lower than the prevailing rate for Plaintiffs and the putative

Class; and (3) both RelayHealth and Surescripts found it more profitable to work together to

foreclose other competitors. Plaintiffs further allege that RelayHealth and Surescripts entered

into two contracts that prevented competition by forbidding RelayHealth from entering the

routing market, as noted above. This arrangement resulted in a restraint of trade by preventing

competition, restricting output, and ultimately, keeping routing prices high. Thus, Plaintiffs have

sufficiently alleged that Surescripts and RelayHealth engaged in conduct that resulted in a

restraint of trade.

        Fifth, Plaintiffs have adequately alleged a section 1 restraint of trade claim against

Surescripts and Allscripts in Counts IV (federal) and VIII (state). Plaintiffs allege that

Allscripts’ agreement with Surescripts foreclosed a key routing competitor, Emdeon, which

would have routed e-prescriptions to Plaintiffs at a lower cost. SAC ¶¶ 172-208, 308-316.

Plaintiffs have also alleged that Allscripts was bribed for its cooperation and refused to break

ranks even when Emdeon tried to break up the Surescripts-Allscripts agreement. Id., ¶¶ 187-

197. Allscripts’ conduct was exclusionary and directly foreclosed competitors in the routing

market. Plaintiffs have thus stated a viable claim against both Defendants in Counts IV and VIII.




                                                  3
    Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 15 of 58 PageID #:2416




                                      SUMMARY OF FACTS

        Plaintiffs are independent pharmacies. SAC ¶¶ 11, 15-23. They serve, or used to serve,

as the healthcare pillars of their communities. These days, industry consolidation and

exploitative business practices have pushed them to the fringes of our nation’s healthcare system,

decimated their customer bases, and slashed their margins. Conduct like Defendants’ has

jeopardized their ability to stay in business.

        Surescripts is a monopolist in the markets for e-prescription routing and eligibility

services. Id., ¶¶ 2-3. E-prescription services include the electronic routing of prescription

information from prescribers5 to pharmacies and the transmission of insurance eligibility

information from pharmacy benefit managers to prescribers. Id., ¶¶ 2, 32-35.

        In the late-2000s, Congress enacted legislation to encourage the development and use of

e-prescription services. Id., ¶¶ 36-43. This fueled growth in e-prescription transaction volume,

from 70 million transactions in 2008 to 1.7 billion transactions in 2017. Id., ¶ 3. With a 95%

share of routing and eligibility transactions, Surescripts has been the primary beneficiary of the

federal push towards e-prescription services. Id., ¶¶ 3, 40-43. Surescripts has embarked on a

multifaceted scheme to maintain its monopoly. Given its dominant market share, Surescripts

knew that if it could dissuade its customers from multihoming, then it could deny competitors the

“critical mass” necessary to create a viable alternative to Surescripts. Id., ¶¶ 108-109.

        In 2009, Surescripts recognized a looming competitive threat to its growing monopoly:

Emdeon. Id., ¶¶ 114-118. Surescripts understood that competition from Emdeon would “drive

lower prices,” and with “lower prices and further capabilities, the new Emdeon could



5
 Prescribers contract with electronic health records (EHR) vendors to convey prescription information to
pharmacies across an e-prescribing network.


                                                   4
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 16 of 58 PageID #:2417




significantly compete” in the e-prescription services markets. Id., ¶¶ 115-117. In response,

Surescripts began to weave a tapestry of contractually-imposed customer loyalty programs. Id.,

¶¶ 119-121. More specifically, Surescripts implemented loyalty contracts with prescribers and

pharmacies that conditioned lower transaction prices on customers routing 100% of their

transactions “through and only through the Surescripts network.” Id., ¶¶ 122-127, 132-134.

Surescripts also incorporated “claw-back” provisions to further ensure customer loyalty through

the explicit threat that it would seek to retroactively recover the difference between loyalty and

non-loyalty rates. Id., ¶¶ 128-131, 135.

       Surescripts’ loyalty-based pricing policy raised the costs for customers to multihome.

Id., ¶¶ 124-127. Because new market entrants could only offer better rates to Surescripts’

customers on a subset of transactions, the retaliatory penalties on the remaining transaction

volume would more than offset any benefits offered by competitors. Id., ¶¶ 6, 198-208, 229-232.

This strategy worked: it “[p]rotect[ed] [Surescripts’] most critical asset—[its] network—by

addressing competitive pressures and locking-in key customers.” Id., ¶¶ 131, 136.

       Surescripts also signed a series of exclusivity agreements with RelayHealth and

Allscripts to further entrench its monopoly. In 2003, Surescripts and RelayHealth, a health

information technology company and subsidiary of McKesson, entered into an agreement

whereby RelayHealth agreed not to compete with Surescripts in routing services. Id., ¶¶ 141-

144. Instead, RelayHealth agreed to connect its pharmacy customers to the Surescripts network

in exchange for a percentage of the fee charged by Surescripts. Id., ¶ 145.

       In 2010, Surescripts obtained RelayHealth’s renewed promise not to compete against it in

routing for an additional six years. Id., ¶¶ 146, 159. This agreement neutralized RelayHealth as

a “significant threat in the near term” that had the “natural ability to capture 15-20% of



                                                 5
    Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 17 of 58 PageID #:2418




transaction volume” due to its relationship with McKesson. Id., ¶¶ 147-155. Surescripts feared

that if RelayHealth “dropped the price down to 2 to 3 cents” per transaction, they would “take

business away from us” by offering terms Surescripts could not match. Id., ¶¶ 156-157. The

2010 contract “maintain[ed] the current status where RelayHealth does not become a

competitor.” Id., ¶¶ 158-159.6 It also required RelayHealth to use “commercially reasonable

efforts to offer terms to incentivize exclusive use of the Surescripts network” by pharmacies,

PTVs, and EHRs, and to help Surescripts clawback incentive fees from disloyal EHRs. Id., ¶¶

160-163.

        Surescripts and RelayHealth renewed their anticompetitive accord once again in 2015.

This iteration required RelayHealth to terminate its prescriber relationships and transfer them

directly to Surescripts, and “remov[ed] [RelayHealth] as an EHR aggregator,” allowing

Surescripts to leverage the network effects of two-sided markets against RelayHealth should it

decide to compete with Surescripts in the future. Id., ¶¶ 165-171.

        Surescripts also struck an exclusive arrangement with Defendant Allscripts, a critical

EHR with access to a substantial prescriber population. Id., ¶ 172. As one of the few EHRs

multihoming, Allscripts provided an opportunity for competitors to connect to its centralized hub

of prescriber customers and expand their networks. Id. Emdeon, for example, connected to

Allscripts and routed prescriptions between its pharmacy customers and Allscripts’ prescriber

customers. Id., ¶ 173. Access to Allscripts’ sizable prescriber base made Emdeon more




6
  Although Surescripts refers to the RelayHealth agreement as a “value-added reseller” partnership,
Surescripts Mem. at 8, the agreement was, in Surescripts’ own words, a “value subtract” in which “the
exclusivity” was the “only real value” because it sidelined “one of [Surescripts’] biggest competitive
threats.” Id., ¶ 164.


                                                    6
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 18 of 58 PageID #:2419




attractive to pharmacy customers. Allscripts was one half of the solution to Emdeon’s “chicken

and the egg” problem; it would help Emdeon reach critical mass. Id., ¶¶ 173-174.

       Realizing that the “key to Emdeon is Allscripts,” Surescripts sought to “contain”

Emdeon’s “access to [prescribers]” by striking a deal with Allscripts to route transactions

exclusively over the Surescripts network. Id., ¶¶ 174, 179-180. Surescripts leveraged its status

as a “must-have” pharmacy partner to negotiate an anticompetitive deal that required Allscripts

to terminate its agreement with Emdeon. Id., ¶¶ 181-186. In return, Surescripts provided

Allscripts with “enhanced” revenue sharing. Id., ¶ 187. In other words, Surescripts paid

Allscripts to destroy any competition from Emdeon. Then, in 2014, Surescripts resorted to

anticompetitive pressure to secure a renewed exclusivity commitment from Allscripts, thus

preventing “a bidding war for [Allscripts’] transactions or access to their physician community”

that would allow a competitor, such as Emdeon, to sustain a competing network. Id., ¶¶ 188-

197.

       As a result of Defendants’ misconduct, Plaintiffs paid and continue to pay higher prices

for e-prescription routing. Id., ¶¶ 10-12, 236-240. Surescripts, aided by its explicit exclusivity

agreements with RelayHealth and Allscripts, has insulated 80% of all pharmacy and prescriber

transaction volume, respectively, from competition. Id., ¶¶ 224-235. Absent Defendants’

exclusionary conduct, competitors would have solved the “chicken and the egg” problem by

offering better rates and services, thus lowering e-prescription costs. Id., ¶¶ 109, 241-257.

Instead, because “pricing isn’t dictated by competition at Surescripts,” Plaintiffs have been

forced to pay approximately 17 cents or more per transaction. Id., ¶ 6. That is 14-16 cents more

than Surescripts estimates would be charged in a competitive market. Id., ¶¶ 10, 239.




                                                 7
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 19 of 58 PageID #:2420




                                   STANDARD OF REVIEW

       To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), “a

complaint must contain enough factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. “When considering a motion to dismiss, the Court construes all

inferences in favor of the plaintiff.” Immanuel Baptist Church v. City of Chicago, 344 F. Supp.

3d 978, 982 (N.D. Ill. 2018) (citing Zemeckis v. Global Credit & Collection Corp., 679 F.3d 632,

634 (7th Cir. 2012)).

                                          ARGUMENT

           PLAINTIFFS ARE THE PROPER PARTIES TO BRING THIS PRIVATE
           ANTITRUST ACTION FOR DAMAGES.

       Whether Plaintiffs here are the “proper part[ies] to bring a private antitrust action” under

federal antitrust law is a merits question and not a jurisdictional question. Loeb Indus. v.

Sumitomo Corp., 306 F.3d 469, 480 (7th Cir. 2002).

       Plaintiffs here are proper parties because they suffered “antitrust injury” from

anticompetitive behavior as opposed to injury from competition, their injuries were proximately

caused by Defendants’ misconduct, and they have alleged that they purchased e-prescriptions

from Surescripts. See Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 487-89

(1977); Associated Gen. Contractors v. Cal. State Council of Carpenters, 459 U.S. 519, 544-45

(1983) (“AGC”); Illinois Brick, 431 U.S. at 729-30. As the “consumers” of the product at issue,

Plaintiffs have suffered “paradigmatic antitrust injury.” See BASF AG v. Great Am. Assur. Co.,

522 F.3d 813, 822 (7th Cir. 2008). “The harm to [Plaintiffs] and [the] class was clearly


                                                 8
  Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 20 of 58 PageID #:2421




foreseeable; indeed, it was a necessary step in effecting the ends of the alleged illegal

conspiracy[,]” and thus Plaintiffs here satisfy the “proximate cause” requirements of AGC. See

Blue Shield of Va. v. McCready, 457 U.S. 465, 479 (1982).

                   Illinois Brick does not bar Plaintiffs’ claims

        Defendants’ Illinois Brick argument (Surescripts Mem. at 10-16; Allscripts Mem. at 13-

14) fails on multiple grounds: (1) though Plaintiffs do not hand cash directly to Surescripts or

write checks directly to Surescripts, Plaintiffs have nonetheless alleged and confirmed the

economic reality of the e-prescription markets (SAC ¶¶ 15-23, 51-66, 93-100) that aligns this

case with other cases in which plaintiffs successfully invoked federal antitrust law; and (2) even

if the Court is inclined to reject Plaintiffs’ allegations regarding the economic reality of the

market, Defendants’ documents have revealed the details of agreements between co-conspirator

PTVs and Surescripts. Thus, as the first innocent purchasers in the anticompetitive scheme,

Plaintiffs have valid federal damages claims against Defendants. Paper Sys. v. Nippon Paper

Indus. Co., 281 F.3d 629, 631 (7th Cir. 2002) (“The first buyer from a conspirator is the right

party to sue.”).

            The economic reality of the market shows that Plaintiffs—pharmacies—pay
            Surescripts for e-prescription routing.

        Illinois Brick stands for the proposition that a plaintiff may not recover damages under

federal antitrust law if there is a market intermediary that purchases the product at issue directly

from the alleged wrongdoer and is entitled to recover overcharge damages of the same type in

the same market. See Loeb, 306 F.3d at 481 (“[T]he chain-of-distribution inquiry in Illinois

Brick was meant only to preclude duplicate recovery.”). “Illinois Brick does not stand for the

proposition, as the defendants would seem to have it, that a defendant cannot be sued under the

antitrust laws by any plaintiff to whom it does not sell (or from whom it does not purchase).” Id.


                                                    9
    Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 21 of 58 PageID #:2422




(emphasis added); see also McCready, 457 U.S. at 468-70; In re Microsoft Crop. Antitrust

Litigation, 127 F. Supp. 2d 702, 710 (D. Md. 2001) (“Illinois Brick does not require that monies

be paid directly to the antitrust violator.”). Properly viewed, PTVs are not intermediaries in a

traditional “chain of distribution” but rather operate entirely in a secondary market.

        Plaintiffs are mindful of the Court’s reasoning in its August 19, 2020 opinion, but

Defendants’ reliance on Apple Inc. v. Pepper, 139 S. Ct. 1514, 1520 (2019) remains misplaced;

their reading is contrary to Loeb, McCready, and Illinois Brick itself. Under Defendants’ reading

of Apple, there is no exception to the general Illinois Brick rule that limits the federal damages

claim cause of action to plaintiffs that paid the alleged wrongdoer directly, i.e., the “direct

purchaser” rule. Such an expansive and broad interpretation of Apple would not just overrule

Loeb and McCready, it would also overrule Illinois Brick itself because even Illinois Brick

recognized, at a minimum, the cost-plus exception to its general “direct purchaser” rule. Illinois

Brick, 431 U.S. at 735-36. Apple cannot bear the weight of that reading; it stands for the

unremarkable proposition that Illinois Brick does not bar direct purchasers (app buyers) from

suing their direct supplier (Apple) even when another party (there, the app developers) has a role

in setting prices. Apple, 139 S. Ct. at 1522 (“[D]irect purchasers from monopolistic retailers are

proper plaintiffs to sue those retailers.”). Apple does not overrule McCready and Loeb and hold

the inverse—that Illinois Brick forecloses all cases where there is some type of secondary market

intermediary.7



7
  The Court in Apple may have referred to brokerage as “economically indistinguishable” from traditional
purchaser-seller distribution chains (id. at 1523; see also In re Surescripts Antitrust Litig., 19-cv-6627,
2020 U.S. Dist. LEXIS 150584, *21-22 (N.D. Ill. Aug. 19, 2020)), but the Court there is discussing
distribution and payment arrangements upstream from the alleged monopolist. Here, the relevant inquiry
is into the economic reality downstream of the monopolist. See SAC ¶¶ 15-23, 51-66, 93-100. Thus,
McCready and Loeb--which address downstream questions—govern here, not Apple.


                                                    10
  Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 22 of 58 PageID #:2423




        Here, as more fully discussed below, PTVs are co-conspirators with Surescripts, making

Plaintiffs the first innocent purchasers with standing under Illinois Brick. Even as co-

conspirators, however, PTVs are not intermediaries in a traditional chain of distribution. PTVs

operate as ancillary office management software providers. They set up computer systems that

allow pharmacies to purchase a variety of electronic services, such as claims adjudication

services, eligibility and benefit network messaging, and clinical messaging. PTV software is

also designed to allow a pharmacy to access, utilize, and pay for Surescripts’ e-prescriptions. As

part of their office software management and services—a market entirely distinct from the

market for provision of e-prescriptions—PTVs generally aggregate and itemize invoices for

pharmacies from various providers, such as Surescripts. SAC ¶¶ 51-66. This is no different than

a credit card company invoicing and itemizing a consumer’s purchases; the credit card company

may have a separate contract with the vendor relating to its own separate market interests, but a

credit card company does not become a direct purchaser under the antitrust laws on a consumer’s

retail purchase. Defendants’ reading of Apple would dictate that credit card banks, not the credit

card owners, are the only entities with federal damages claims in an antitrust case, and that

clearly is not correct.

        Both the Supreme Court and Seventh Circuit have upheld federal damages claims for

plaintiffs who did not contract directly with defendants where: (1) the intermediaries at issue in

the case suffered no damages or damages in an alternative market, (2) there was a minimal

chance of duplicative recovery and complex damages apportionment, and (3) deterrence would

be undermined by denying plaintiffs’ claims. See McCready, 457 U.S. at 467-69, 75; Loeb, 306

F.3d at 475-76. In Loeb, the Seventh Circuit distinguished all of defendants’ citations to

traditional Illinois Brick cases, explaining, “[T]he plaintiffs [here] are not indirect purchasers



                                                  11
    Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 23 of 58 PageID #:2424




along a supply chain.” 306 F.3d at 482; see also Sanner v. Board of Trade, 62 F.3d 918, 921-22,

929-30 (7th Cir. 1995) (applying McCready and AGC to uphold federal antitrust claim by

soybean farmers against defendants for artificially depressing the soybean futures market,

leading to a price decline in the soybean cash market where the farmers operated). Apple did not

overrule this line of cases.

             Plaintiffs have federal damages claims as the first innocent purchasers.

          As recognized in its August 19, 2020 Opinion, even if the Court adopts Defendants’

reading of Apple and Illinois Brick, Plaintiffs’ federal damages claims can still proceed here

because Plaintiffs are the first innocent purchasers from co-conspirators.

          In a case involving a vertical conspiracy or restraint of trade, “[t]he first buyer from a

conspirator is the right party to sue.” Paper Systems, 281 F.3d at 631. Indeed, as first innocent

buyers, Plaintiffs are the right parties to sue even if the co-conspirators are “reluctant

accomplices.” In re Brand Name Prescription Drugs Antitrust Litig., 123 F.3d 599, 615 (7th Cir.

1997).8

          As Surescripts admits, Illinois Brick does not bar federal claims for first innocent

purchasers under Seventh Circuit law. Surescripts Mem. at 12-15. Nonetheless, Surescripts

argues that Plaintiffs’ claims still fail because, it claims: (1) Plaintiffs do not adequately plead the

existence of a “rim” to a “hub and spokes” conspiracy and (2) there are alternative explanations

for the PTVs’ behavior. Neither argument is persuasive.



8
 In fact, first innocent purchasers would still have valid claims even if some of the co-conspirators break
out of the scheme and bring their own suits (which they have not done here). Id. (“One virtue of the rule
of [Illinois Brick] is that it creates an incentive for middlemen to break out of a cartel and sue the supplier
members; it sows dishonor among thieves; they still may be thieves.”) (emphasis in original). “There is
nothing new about the idea that a cartel might ‘hire’ a customer to help police the cartel.” Id. at 614; see
also Fontana Aviation, Inc. v. Cessna Aircraft Co., 617 F.2d 478, 481 (7th Cir. 1980).


                                                      12
    Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 24 of 58 PageID #:2425




        First, Plaintiffs have pled facts that adequately support the existence of an overarching

anticompetitive scheme (“hub and spokes” and otherwise).9 Defendants rely heavily on Marion

Healthcare, LLC v. Becton Dickinson & Co., 952 F.3d 832 (7th Cir. 2020), but that case supports

Plaintiffs here. Regarding hub-and-spokes conspiracies, the Seventh Circuit explained, “This

type of conspiracy requires a plaintiff to allege both that there was a central coordinating party

(the ‘hub’), and that each participant (along the ‘rim’) recognized that it was part of the greater

arrangement, and it coordinated or otherwise carried out its duties as part of the broader group.”

Id. at 842. Plaintiffs have pled facts satisfying this standard. SAC ¶¶ 67-92. Each identified

PTV recognized that it was part of the greater arrangement because “certified” Surescripts PTVs

were and are publicly listed online by Surescripts. Id., ¶¶ 73-81. This allows conspirators to

patrol for compliance. Moreover, it was only in each individual PTV’s economic self-interest to

join the exclusive dealing scheme if other PTVs joined. Id. Anything less and aspiring

Surescripts competitors, like Emdeon, would enter the market and offer more attractive terms to

non-conspirator PTVs, thus undermining the entire scheme. Id. The only way conspirator PTVs

and Surescripts can protect their split supracompetitive profit margins is if all or virtually all

PTVs agree to lock out aspiring Surescripts competitors, like Emdeon.

        Second, under Rule 12, Plaintiffs are entitled to the benefit of the facts alleged in the

SAC, and the inferences that derive from them, as pled. Defendants will have the opportunity to

present “alternative explanations” for the PTVs’ actions at summary judgment or trial—if they

can muster admissible evidence. As it stands, Defendants simply repeat “lower prices” over and



9
  Even if Plaintiffs failed to adequately plead a “rim” to a hub and spokes conspiracy (and they have not),
the factual allegations are also sufficient to establish standalone vertical conspiracies between Surescripts
and PTVs with distinct anticompetitive effects. SAC ¶ 72 (PTV agreements have “independent”
anticompetitive effects).


                                                     13
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 25 of 58 PageID #:2426




over to manufacture a competing explanation for why all PTVs agreed to anticompetitive master

agreements with Surescripts.10 However, Plaintiffs have alleged that these were not competitive

“lower prices” but rather anticompetitive payments from Surescripts to PTVs. At this stage,

Defendants’ ipse dixit characterization of anticompetitive payments from Surescripts to PTVs

must be rejected because it directly conflicts with Plaintiffs’ allegations. Id., ¶¶ 81-92. Illinois

Brick does not bar Plaintiffs’ federal claims here.

                Plaintiffs are the proper parties under Associated General Contractors.

         AGC “requires a court to examine through a case-by-case analysis the link between a

plaintiff’s harm and a defendant’s wrongdoing.” Loeb, 306 F.3d at 484 (citing AGC, 459 U.S. at

535-36). The factors to be weighed include: “(1) the causal connection between the violation

and the harm; (2) the presence of improper motive; (3) the type of injury and whether it was one

Congress sought to redress; (4) the directness of the injury; (5) the speculative nature of the

damages; and (6) the risk of duplicate recovery or complex damage apportionment.” Id. This

doctrine “is the equivalent of the common-law tort limitation of proximate cause.” Sanner, 62

F.3d at 927. Allscripts argues that Plaintiffs have failed to plead a causal connection between the

violation and harm because they do not allege that Allscripts is part of the distribution chain that




10
  Surescripts argues in passing that Plaintiffs’ co-conspirator allegations are “inconsistent with the entire
theory of Plaintiffs’ case” (Surescripts Mem. at 15) but nothing could be further from the truth. The
Surescripts-PTV agreements locked out Surescripts’ competitors and simple economic theory flows from
there: by locking out competition, the conspirators ensured competition could not push prices closer to
cost margins. As Surescripts itself said, it was “win-win-win” for Surescripts and the PTVs—only the
actual purchasers—pharmacies—were injured. SAC ¶¶ 75-76. Surescripts also briefly argues that it pays
rebates directly to pharmacies and such behavior is “not a common activity” for a monopolist.
Surescripts Mem. at 14-15. This is also false: companies with monopoly or market power routinely use
rebates as a form of price discrimination—private rebates allow monopolists to optimize the monopoly
rent that can be extracted from varied customers with varying sensitivities to price. Moreover, these
rebate payments bolster Plaintiffs’ allegations that the pharmacies are, in fact, Surescripts’ customers.
Why else would Surescripts directly send rebate payments to the pharmacies?


                                                     14
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 26 of 58 PageID #:2427




sells or resells “the connection that transmits the electronic prescription to pharmacies.” That

argument should fail; Plaintiffs are proper parties to bring claims here.

       Plaintiffs allege that Allscripts is responsible for transferring the e-prescription from the

provider through Surescripts and to the pharmacy, like Plaintiffs here. SAC ¶¶ 6–7, 172.

Plaintiffs further allege that because of the Allscripts-Surescripts arrangement, no pharmacy

could receive e-prescriptions from Allscripts’ customers without using Surescripts, and no

competing e-prescribing network could use Allscripts’ customers to entice pharmacies to break

away from Surescripts. Id., ¶¶ 180, 182. Plaintiffs also allege that the Allscripts-Surescripts

agreement eliminated nascent competition in the routing market. Id., ¶ 310. That is more than

enough to satisfy the causal connection element of AGC. United States v. Microsoft Corp., 253

F.3d 34, 79 (D.C. Cir. 2001) (“We may infer causation when exclusionary conduct is aimed at

producers of nascent competitive technologies[.]”) (citation omitted). Thus, Plaintiffs are proper

parties to bring claims against Allscripts.

       Furthermore, a plaintiff need not be in the same distribution chain as the defendant in

order to show a causal connection between the violation and harm. Instead, the plaintiff need

only show that it participated “in the very market directly distorted by the antitrust violation” and

that its injuries are “inextricably intertwined with the injury that [Defendants] sought to inflict.”

In re Aluminum Warehousing Antitrust Litig., 833 F.3d 151, 159 (2d Cir. 2016) (citation

omitted). Plaintiffs have done so here. Plaintiffs have alleged that the Surescripts-Allscripts

agreement harmed the routing market. SAC ¶ 307. Plaintiffs have further alleged that both they

and Allscripts participated in the routing market. Id., ¶¶ 7, 44-47. And Plaintiffs have explained

that the injury that Surescripts and Allscripts sought to inflict—the monopolization of the routing

market—is “inextricably intertwined” with the injuries that Plaintiffs suffered. An e-prescribing



                                                  15
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 27 of 58 PageID #:2428




provider needs access to a critical mass of both pharmacies and EHRs to succeed. Id., ¶¶ 45-46,

48, 50. Thus, by agreeing to the Surescripts deal, Allscripts ensured that competing e-

prescribing providers like Emdeon could not obtain the critical mass necessary to break

Surescripts’ monopoly. Id., ¶¶ 172-196. As a result, pharmacies were stuck paying Surescripts’

supracompetitive rates, which were between 566 and 1700 percent higher than a competitive

price. Id., ¶ 239. These allegations are sufficient. See City of Rockford v. Mallinckrodt ARD,

Inc., 360 F. Supp. 3d 730, 751 (N.D. Ill. 2019); In re Plasma-Derivative Protein Therapies

Antitrust Litig., No. 09-cv-7666, 2012 WL 39766, at *9 (N.D. Ill. Jan. 9, 2012).

           PLAINTIFFS HAVE ADEQUATELY ALLEGED AN ILLEGAL
           MONOPOLIZATION CLAIM AGAINST SURESCRIPTS BASED UPON ITS
           EXCLUSIONARY CONDUCT (COUNTS I AND V).

       Plaintiffs properly allege that Surescripts created and enforced anticompetitive exclusive

dealing contracts. In two-sided markets, like the markets here, control over market access “can

be used to exclude competitors and harm competition” when a company abuses its position of

market dominance. Viamedia, Inc. v. Comcast Corp., No. 18-2852, 2020 U.S. App. LEXIS

5469, at *18 (7th Cir. Feb. 24, 2020) (reversing decisions in favor of defendants in

monopolization case involving two-sided market). Surescripts illegally uses its dominance in the

routing and eligibility e-prescribing markets to implement loyalty programs that contractually

commit pharmacies, health plans/PBMs, co-conspirator PTV partners, and EHRs to exclusively

use Surescripts’ e-prescribing network, thus securing Surescripts’ stronghold. These contracts

prevent actual and nascent competitors from gaining enough customers to compete with

Surescripts.

       In defense of these claims, Surescripts contorts Plaintiffs’ allegations in the SAC to argue

that its loyalty programs are merely “optional low pricing” and urges this Court to improperly



                                                16
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 28 of 58 PageID #:2429




apply a predatory pricing analysis. Surescripts Mem. at 16-20. This argument was rejected by

the court in the parallel and factually identical case, Surescripts I,11 and there is no reason why

this Court should reach a different conclusion.

                Anticompetitive exclusivity contracts are the predominant mechanism of
                exclusion.

         The implementation of Surescripts’ loyalty programs through exclusive dealing contracts

with pharmacies, health plans/PBMs, co-conspirator PTV partners, and EHRs is the cornerstone

of the anticompetitive conduct alleged in the SAC. There is no merit to Surescripts’ argument

that this case is about Surescripts offering low prices that no other competitor can match or

beat—Plaintiffs do allege that other competitors could and have offered better prices (SAC ¶¶

198-208, 236-240)—rather, that argument is merely a weak attempt to have the court analyze

this case under a predatory pricing analysis. See Surescripts Mem. at 17. Surescripts created

loyalty programs designed to lock up the majority of e-prescribing customers, thus thwarting

potential competitors from gaining enough customers on both sides of the network to challenge

Surescripts’ monopoly. See SAC ¶¶ 4, 109, 136.12 As the industry evolved and pharmacies

moved to utilize PTVs as “gateways” to Surescripts’ network, Surescripts entered into

exclusionary contracts with PTVs that provided them with direct payments disguised as “loyalty

discounts” in exchange for their commitment to route 100% of the pharmacies’ transactions

exclusively through Surescripts. See id., ¶¶ 68-69, 121-125. These exclusionary contracts


11
  According to the Seventh Circuit, this Court should give the Surescripts I decision “serious
consideration.” See Colby v. J.C. Penney Co., Inc., 811 F.2d 1119, 1124 (7th Cir. 1987).
12
  According to the SAC, “[t]he term ‘discounts’ is misleading because…the only ‘discount’ received by
loyal customers was freedom from the punitive price hikes (above and beyond the existing
supracompetitive ‘loyal’ price) and clawbacks that Surescripts levied on non-loyal customers.” SAC ¶
121. Thus, at all times, the prices charged by Surescripts were supracompetitive, regardless of whether the
customer was engaged in the loyalty program or not.


                                                    17
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 29 of 58 PageID #:2430




contained clawback provisions pursuant to which pharmacies, health plans/PBMs, and PTVs that

breach the loyalty commitment must pay back potentially millions in retroactive price penalties.

Id., ¶¶ 71, 79, 122-129.

       Likewise, Surescripts’ exclusionary contracts with EHRs “condition[ed] any incentive

payment to the EHR on the EHR’s exclusivity to Surescripts for routing, eligibility, or both.” Id.,

¶¶ 132-133. If an EHR decided to multihome or use Surescripts for less than 100% of its

transactions, Surescripts terminates incentive fees to that EHR and the contract’s clawback

provision requires the EHR to pay back the incentive fee for historical transaction volume. See

id., ¶ 134-135.

       Thus, Surescripts’ exclusionary contracts, with their severe clawback provisions, allow

Surescripts to strangle the market so tightly that no actual or nascent competitor could offer

prices low enough or incentive payments high enough to offset the immense penalties direct-

contract pharmacies, co-conspirator PTV partners, health plans/PBMs and EHRs would have to

pay back to Surescripts for their non-loyalty. See id., ¶¶ 131, 198-200. Plaintiffs and the Class

have therefore paid more for e-prescribing services than they would have paid had competitors

not been thwarted from entering the relevant markets.

       The Surescripts I court recognized that the exclusionary contracts in this case are prima

facie anticompetitive:

                  For an exclusionary act to be anticompetitive, “it must harm the
                  competitive process and thereby harm consumers.” Here, the FTC
                  alleges that Surescripts’s loyalty programs—and the implicit threat
                  to charge non-exclusive customers higher prices—prevented the
                  entrance of competitors into e-prescribing markets. The absence of
                  competitors, in turn, allegedly led to increased prices for
                  pharmacies and PBMs and lower incentive payments for EHRs. At
                  least on the face of its complaint, then, the FTC appears to allege
                  facts sufficient to state a claim under Section 2 of the Sherman
                  Act.


                                                  18
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 30 of 58 PageID #:2431




Surescripts I, 424 F. Supp. 3d 92, 100-101 (citations omitted). Seventh Circuit courts have

condemned similar exclusivity contracts as anticompetitive. See, e.g., Schor v. Abbott Labs, 457

F.3d 608, 610 (7th Cir. 2006) (including “tie-in sales…group boycotts, exclusive dealing and

selective refusal to deal, or predatory pricing” as exclusionary practices.); In re Dealer Mgmt.

Sys. Antitrust Litig., 360 F. Supp. 3d 788, 800 (N.D. Ill. 2019).

       Consequently, there is no merit to Surescripts’ argument (Surescripts Mem. at 17-19) that

a predatory pricing analysis should apply here; Plaintiffs allege that exclusivity contracts are the

first-line mechanism that Surescripts used to illegally maintain its monopoly and prevent

competitors from entering the routing and eligibility markets. The court in Surescripts I

explained:

               Like the behavior at issue in [United States v. Microsoft Corp., 253
               F.3d 34 (D.C. Cir. 2001)] Surescripts’s alleged practice of
               charging loyal pharmacies and PBMs less, and paying loyal EHRs
               greater incentives, do not need to constitute predatory pricing for
               Surescripts’s exclusionary practices to constitute illegal
               maintenance of a monopoly. [See United States v. Grinnell Corp.,
               384 U.S. 563, 570-71 (1966)]. “Where, as here, a dominant
               supplier enters into de facto exclusive dealing arrangements with
               every customer in the market, other firms may be driven out not
               because they cannot compete on a price basis, but because they are
               never given an opportunity to compete. . . .” ZF Meritor, LLC v.
               Eaton Corp., 696 F.3d 254, 281 (3d Cir. 2012)

Surescripts I, 424 F. Supp. 3d at 102; see also ZF Meritor, 696 F.3d at 278 (rejecting predatory

pricing analysis where defendant offered a rebate program that the competitor was unable to

match because “this is not a case in which the defendant’s low price was the clear driving force

behind the customer’s compliance with purchase targets, and the customers were free to walk

away if a competitor offered a better price”); McWane, Inc. v. FTC, 783 F.3d 814, 819 (11th Cir.

2015) (affirming FTC decision that manufacturer defendant’s conduct “constituted an illegal



                                                 19
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 31 of 58 PageID #:2432




exclusive dealing policy used to maintain [defendant’s] monopoly power in the domestic fittings

market”). Surescripts’ proposed predatory pricing analysis is inapplicable here.13

                Surescripts’ claim that the exclusivity contracts and “loyalty programs” were
                “optional” does not negate the fact that they are anticompetitive.

         Surescripts argues that because access to the Surescripts network and “loyalty pricing” is

“optional” (Surescripts’ characterization), the terms of routing and eligibility access and pricing

cannot be anticompetitive. Surescripts Mem. at 16-17.

         The Surescripts I court rejected the same argument. Quoting the Supreme Court in

Tampa Electric Co. v. Nashville Coal Co., 365 U.S. 320, 326 (1961), the court stated that “a

contract need ‘not contain specific agreements not to use the [services] of a competitor’ as long

as ‘the practical effect…is to prevent such use.’” Surescripts I, 424 F. Supp. 3d at 101. The

court further explained that:

                The FTC alleges that the threat of increased prices had the
                “practical effect” of preventing customers from working with other
                e-prescribing platforms, “since doing so would trigger the massive
                penalty provisions in their contracts with Surescripts ... and cost
                routing [and eligibility] customers millions of dollars through
                increased prices or, for EHRs, decreased incentive payments.”
                                                 ***
                Here, the government has pleaded facts demonstrating such
                substantial foreclosure.

Surescripts I, 424 F. Supp. 3d at 101 (citations omitted); see also Collins v. Associated

Pathologists, Ltd., 884 F.2d 473, 478 (7th Cir. 1988) (“Whether a particular contract [violates the

Sherman Act] depends on the effect that contract has upon competition in the relevant market


13
   Surescripts’ reliance on Brooke Group Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209
(1993) is misplaced. There, the plaintiffs relied on the exclusionary effect of the defendants’ prices
alone—not on the anticompetitive effects of exclusionary contracts and separate contracts in restraint of
trade, as Plaintiffs do here. See ZF Meritor, LLC, 696 F.3d at 277 (“Here, in contrast to…Brooke Group,
Plaintiffs did not rely solely on the exclusionary effect of Eaton’s prices, and instead highlighted a
number of anticompetitive provisions in the [long term agreements].”).


                                                   20
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 32 of 58 PageID #:2433




place.”). The exclusionary contracts are restrictive in their purpose and effect, and thus

anticompetitive.

           PLAINTIFFS HAVE ADEQUATELY ALLEGED A CONSPIRACY TO
           MONOPOLIZE CLAIM AGAINST SURESCRIPTS AND RELAYHEALTH
           (COUNTS II AND VI).

       To plead a conspiracy to monopolize, a plaintiff must allege: “(1) the existence of a

combination or conspiracy, (2) overt acts in furtherance of the conspiracy, (3) an effect upon a

substantial amount of interstate commerce, and (4) the existence of specific intent to

monopolize.” City of Rockford v. Mallinckrodt ARD, Inc., 360 F. Supp. 3d 730, 755 (N.D. Ill.

2019). Surescripts challenges the first and fourth elements. See Surescripts Mem. at 20-22.

       Plaintiffs have sufficiently alleged that Surescripts and RelayHealth conspired to

maintain Surescripts’ monopoly. In 2010, RelayHealth and Surescripts entered into a contract

that required RelayHealth to stay out of the market for six years, and required RelayHealth to

enforce exclusivity to the Surescripts network among pharmacies. See SAC ¶¶ 146-163. In

2015, Surescripts and RelayHealth entered into a new contract that required RelayHealth to end

its relationships with EHRs and transfer its EHR connections to Surescripts, eliminating

RelayHealth’s ability to be a competitive threat in a two-sided routing network. See id., ¶¶ 165-

171. Both contracts provided RelayHealth with a successively larger share of Surescripts’

monopoly profits. See id., ¶¶ 161, 166.

       Prior to 2010, RelayHealth purchased connectivity to Surescripts’ network at a wholesale

rate slightly discounted from the monopoly price charged to pharmacies. See id., ¶ 145. As the

renewal date approached, RelayHealth and Surescripts had three choices: (1) RelayHealth could

continue to resell Surescripts’ connectivity at slim margins subject to potential competition; (2)

RelayHealth could enter the market by undercutting Surescripts or creating a more attractive

product through bundling connectivity with McKesson and RelayHealth’s other adjacent

                                                21
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 33 of 58 PageID #:2434




products (see id., ¶¶ 148-158); or (3) a new contract could be formed under which RelayHealth

imposed exclusivity to Surescripts on its customers to ensure Surescripts could freeze out

nascent competitors and continue to charge monopoly prices, which Surescripts would then share

with RelayHealth through a deeper discount and exclusivity incentive fees. See id., ¶¶ 159-163).

Surescripts and RelayHealth’s decision to pursue the third option was anticompetitive.

         In addition, both Surescripts and RelayHealth shared the requisite intent to exclude

competition or control prices. Am. Tobacco Co. v. United States, 328 U.S. 781, 789 (1945);

accord In re Zetia (Ezetimibe) Antitrust Litig., No. 2:18-MD-2836, 2019 WL 1397228, at *18

(E.D. Va. Feb. 6, 2019), report and recommendation adopted as modified, 400 F. Supp. 3d 418

(E.D. Va. 2019) (finding intent to monopolize in the context of an exclusionary contract). At the

pleading stage, specific intent may be inferred from defendants’ conduct. City of Rockford v.

Mallinckrodt ARD, Inc., 360 F. Supp. 3d 730, 756 (N.D. Ill. 2019) (holding it appropriate to infer

intent based on adequately pled overt acts in a case involving exclusive dealing); Wagner v.

Magellan Health Servs., Inc., 121 F. Supp. 2d 673, 681 (N.D. Ill. 2000).14

         Surescripts argues that it is “unreasonable to infer that a customer would conspire to

assist its supplier’s monopoly.” Surescripts Mem. at 21. However, RelayHealth was able to

procure more favorable pricing and incentive terms for itself because of its agreement to stay out

of the market and help shut out all other nascent competitors—i.e., Surescripts paid RelayHealth

to join its conspiracy and not to compete. RelayHealth’s own internal documents show its belief

that Surescripts’ “dominant contracting strategy . . . [was] to prevent [RelayHealth] from


14
  See also Howard Hess Dental Labs Inc. v. Dentsply Int’l, Inc., 602 F.3d 237, 257 (3d Cir. 2010)
(Dentsply II) (“[s]pecific intent in the antitrust context may be inferred from a defendant’s unlawful
conduct”); Penn. Dental Ass’n v. Med. Serv. Ass’n of Penn., 745 F.2d 248 (3d Cir. 1984) (“[d]irect
evidence of specific intent need not be shown; it may be inferred from predatory or exclusionary
conduct”).


                                                    22
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 34 of 58 PageID #:2435




competing [with Surescripts.]” SAC ¶ 158. And Surescripts described RelayHealth as “sh[*]tty,

non-value added partners but at least they’re one of our biggest competitive threats.” Id., ¶ 164.

Both parties understood that they had agreed not to compete and to share monopoly profits. See

ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 270 (3d Cir. 2012) (“The primary antitrust

concern with exclusive dealing arrangements is that they may be used by a monopolist to

strengthen its position, which may ultimately harm competition.”).

         RelayHealth did more than merely “acquiesce[]” to Surescripts’ “monopolistic demands.”

See Surescripts Mem. at 22. RelayHealth had enormous bargaining power over Surescripts

because its parent, McKesson, had the resources, expertise, and customers to be an existential

threat to Surescripts. SAC ¶¶ 8, 25, 148-158. This bargaining power was not present in Gravity,

Inc. v. Microsoft Corp., 127 F. Supp. 2d 728 (D. Md. 2001), in which Microsoft required original

equipment manufacturers to accept restrictive agreements designed to preserve Microsoft’s

monopolies. Id. at 729-30.15 Nor did the Gravity OEMs benefit from their arrangement with

Microsoft through a share of monopoly profits, as alleged here.

         Surescripts cites cases decided at summary judgment or after trial, or in which “no

rational motive” was pled for the alleged conspiracy.16 In contrast, Plaintiffs here have pled that

e-prescription routing rates in a competitive market would have been as low as 1 to 3 cents per

transaction, as compared to the 17 cents charged in a monopoly market. SAC ¶¶ 156-157, 239.




16
   See, e.g., TV Commc’ns Network, Inc. v. Turner Network Television, Inc., 964 F.2d 1022, 1026 (10th
Cir. 1992) (dismissing complaint that did “little more than “recite the relevant antitrust law”); Truck-Rail
Handling, Inc. v. Burlington N. & Santa Fe Ry. Co., 244 F. App'x 130, 132 (9th Cir. 2007) (dismissing
claim on summary judgment); Lektro-Vend Corp. v. Vendo Co., 660 F.2d 255, 272 (7th Cir. 1981) (post-
trial opinion).




                                                     23
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 35 of 58 PageID #:2436




Since the 2010 and 2015 contracts provided RelayHealth a larger share of Surescripts’ routing

fees, it was economically rational for RelayHealth to help Surescripts keep rates at a monopoly

level. Id., ¶¶ 161, 166. Cf. In re Ductile Iron Pipe Fittings (DIPF) Direct Purchaser Antitrust

Litig., No. CIV. 12-711, 2013 WL 812143, at *4-5, *20-21 (D.N.J. Mar. 5, 2013) (plaintiffs

sufficiently pled that manufacturer conspired with one of its distributors and potential rivals in

which the distributor agreed to stay out of the market, enforce exclusionary provisions, and

squash a mutual rival’s nascent efforts to enter the market as a competitor to the manufacturer).

           PLAINTIFFS HAVE ADEQUATELY ALLEGED A RESTRAINT OF TRADE
           CLAIM AGAINST SURESCRIPTS AND RELAYHEALTH (COUNTS III AND
           VII).

       The same facts that underlie Plaintiffs’ conspiracy to monopolize claim sufficiently

support a restraint-of-trade claim under section 1 of the Sherman Act. Under either a per se or

rule-of-reason analysis, the ultimate inquiry is “whether or not the challenged restraint enhances

competition.” In re Delta Dental Antitrust Litig., No. 19-cv-6734, 2020 WL 5296996, at *2

(N.D. Ill. Sept. 4, 2020). Because Plaintiffs have sufficiently pled that the purpose of the 2010

and 2015 agreements were to eliminate all threats to Surescripts’ dominance, they have pled a

viable claim under either theory.

                Plaintiffs have sufficiently pled a naked restraint of trade sufficient for per
               se treatment.

       “Horizontal agreements to allocate markets among competitors are per se violations of §

1 of the Sherman Act.” Blackburn v. Sweeney, 53 F.3d 825, 827 (7th Cir. 1995) (citing United

States v. Topco Associates, 405 U.S. 596 (1972); Palmer v. BRG of Georgia, Inc., 498 U.S. 46

(1990)); see also General Leaseways, Inc. v. National Truck Leasing Assoc., 744 F.2d 588, 591

(7th Cir. 1984) (“[I]n short, horizontal market divisions are illegal per se.”). “An agreement to

engage in anti-competitive conduct need not, and generally will not, be established by direct


                                                 24
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 36 of 58 PageID #:2437




evidence of a combination or conspiracy. The requisite concerted action may be inferred from a

course of dealing or from other circumstantial evidence.” Contractor Utility Sales Co. v.

Certain-Teed Products Corp., 638 F.2d 1061, 1074 (7th Cir. 1981).

       Group boycotts—occurring when two or more entities conspire to foreclose

competition—are also per se illegal. See, e.g., Klor’s, Inc. v. Broadway-Hale Stores, Inc., 359

U.S. 207, 212 (1959). While the Supreme Court has held that boycotts involving solely vertical

arrangements are to be judged under the rule of reason analysis, see NYNEX Corp. v. Discon,

Inc., 525 U.S. 128, 136 (1998), the Court has distinguished pure vertical price restraints from

those vertical price restraints that are used to organize horizontal arrangements, which are, “and

ought to be, per se unlawful.” Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877,

893 (2007).

       Courts do not normally determine whether a challenged restraint is per se illegal on the

pleadings and confine their analysis to whether plaintiffs have alleged facts supporting a

plausible claim that defendants engaged in conduct that resulted in a restraint of trade. See, e.g.,

Rockford, 360 F. Supp. at 754 (finding that plaintiff had properly alleged a Section 1 violation by

a monopolist drug manufacturer and its exclusive distributor who had conspired to “keep prices

high, restrict output, and prevent competition from entering the market.”) (citation omitted).

       Here, Plaintiffs have alleged that RelayHealth had the financial wherewithal, customer

relations, and experience in an adjacent market to out-compete Surescripts in the routing market,

and that it would have done so but for the agreement at issue. See generally In re Magnesium

Oxide Antitrust Litig., No. 10-cv-5943, 2011 WL 5008090, at *16 (D.N.J. Oct. 20, 2011)

(discussing pleading standard for a horizontal market allocation claim among potential

competitors). Both RelayHealth and Surescripts found it more profitable to work together to



                                                 25
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 37 of 58 PageID #:2438




shut out other competitors. Thus, their agreement was one to restrict output (routing e-

prescriptions) for the purpose of keeping prices high, an arrangement considered a naked

restraint of trade entitled to per se treatment. See United States v. Andreas, 216 F.3d 645, 667

(7th Cir. 2000) (explaining why agreements to restrict output are entitled to per se treatment).

       Surescripts argues that Plaintiffs’ per se claim should be dismissed on the grounds that

the restraint alleged should be viewed as merely ancillary to a procompetitive agreement.

However, Plaintiffs have alleged that “[n]ot one joint Surescripts-RelayHealth value-added

product or service resulted” from the 2010 or 2015 contracts. SAC ¶¶ 245-247. And

“Surescripts repeatedly described the sole value of its agreements with RelayHealth as keeping

RelayHealth’s customers exclusive to Surescripts and preventing RelayHealth from competing

against Surescripts in routing.” Id., ¶ 248; see also id., ¶¶ 159, 164, 248. In other words,

exclusion of competition was the purpose of the agreement, not a side feature.

       RelayHealth erroneously relies on the post-trial opinion, Polk Bros. v. Forest City

Enterprises, Inc., 776 F.2d 185, 187 (7th Cir. 1985), in which two store owners entered an

agreement to build a building that could house them both. Id. at 188. Because neither was

interested in investing in a facility to house a rival, they incorporated provisions into their

agreement that restricted what type of products each would be entitled to sell. Id. The Seventh

Circuit found that the goal of the agreement was to provide customers with a more convenient

shopping experience, not to limit competition. Therefore, the “ancillary” restraint “contribute[s]

to the success of a cooperative venture that promises greater productivity and output,” and was

not a “naked” restraint that restricts competition without the benefit of a redeeming

procompetitive virtue. Polk, 776 F.2d at 188-89 (emphasis added).

       Here, the goal of the 2010 agreement was to eliminate competition. The agreement to



                                                  26
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 38 of 58 PageID #:2439




jointly develop products—which never actually resulted in any new products—was, if anything,

ancillary to the naked per se illegal restraint to divide the market, refuse to compete, and share

supracompetitive profits. This much is clear from Surescripts’ Chief Customer Officer’s

description of Relay Health as “sh[*]tty, non-value added partners but at least they’re one of our

biggest competitive threats.” SAC ¶ 164 (emphasis added).

         The 2015 agreement eliminated the explicit non-compete but preserved the same anti-

competitive effect by requiring RelayHealth to terminate its routing relationships with EHRs and

turn over the connections to Surescripts, neutralizing RelayHealth as a competitive threat.17

Both agreements were horizontal agreements that allocated control of the routing market to

Surescripts and helped maintain supracompetitive prices. See Blackburn v. Sweeney, 53 F.3d

825, 827 & 828 (7th Cir. 1995) (holding that an agreement to allocate markets is per

se unlawful); Tamburo v. Calvin, No. 94 C 5206, 1995 WL 121539, at *5 (N.D. Ill. Mar. 17,

1995) (holding a non-compete clause was unlawful per se where its purported purpose was

illusory).

                Alternatively, Plaintiffs have sufficiently pled an anticompetitive restraint of
                trade under the Rule-of-Reason.

         As noted supra, courts typically do not undertake a rule-of-reason analysis on the

pleadings. Rockford, 360 F. Supp. 3d at 754. That is because the rule-of-reason inquiry is fact

intensive, requiring a court to determine that a “challenged action is unreasonable if—in light of

facts particular to the industry, its condition before and after the imposition of the restraint, and



17
  RelayHealth is also wrong to compartmentalize its two separate Surescripts contracts as if they are two
separate antitrust claims. See Ohio-Sealy Mattress Mfg. Co. v. Sealy, Inc., 585 F.2d 821, 828 (7th Cir.
1978) (“The character and effect of a conspiracy are not be judge by dismembering it and viewing its
separate parts, but only by looking at it as a whole.”) (quoting Cont’l Ore Co. v. Union Carbide &
Carbon Corp., 370 U.S. 690, 699 (1962)).


                                                   27
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 39 of 58 PageID #:2440




the restraint’s nature, history, and effects—it suppresses rather than promotes competition.” In

re Sulfuric Acid Antitrust Litig., 743 F. Supp. 2d 827, 864 (N.D. Ill. 2010) (setting forth standard

to be applied on summary judgment). Nonetheless, Plaintiffs have pled sufficient facts to

surpass this level of scrutiny. As the Seventh Circuit has held, even ancillary restraints are

unlawful if they “bring a large market share under a single firm’s control.” Polk, 776 F.2d at 189.

       Surescripts argues that Plaintiffs fail to state a claim under the rule-of-reason because

“they have not alleged net anticompetitive effects across both the pharmacy and EHR sides of

the e-prescription routing market required by Ohio v. American Express Co., 138 S. Ct. 2274

(2018).” Surescripts Mem at 23. But the complaint alleges that Surescripts’ loyalty

requirements alone, as bolstered by the non-compete with RelayHealth insulated between 70-

80% of each side of the routing network from competition. See, e.g., SAC ¶¶ 6, 120, 132, 136-

138, 145, 166, 225-235. Plaintiffs allege that competition would have lowered net prices,

considering both sides of the transaction. Id., ¶¶ 236-240. These are anticompetitive effects.

       It is not Plaintiffs’ burden to plead the anticompetitive effects separately attributable to

each agreement; a court does not “wipe the slate clean” after scrutinizing each component of an

alleged conspiracy. Ohio-Sealy, 585 F.2d at 828. Nonetheless, Plaintiffs have alleged that the

2010 non-compete agreement neutralized RelayHealth’s “natural ability to capture 15-20% of

transaction volume” due to its relationship with McKesson. SAC ¶ 8. The 2015 agreement

continued to sideline RelayHealth as a potential routing competitor and “remov[ed]

[RelayHealth] as an EHR aggregator,” ensuring that Surescripts would be able to leverage the

“chicken and the egg” problem against RelayHealth should it decide to enter the routing market

in the future. Id., ¶¶ 155, 165-171. These agreements, individually and together, were intended

to sustain Surescripts’ monopoly by eliminating RelayHealth as a routing competitor.



                                                 28
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 40 of 58 PageID #:2441




       Surescripts relies on Dickson v. Microsoft Corp., 309 F.3d. 193 (4th Cir. 2002) for the

proposition that “the law does not permit consideration of two admittedly different agreements in

the aggregate.” Surescripts Mem. at 24. However, the Dickson plaintiffs had only alleged

discrete conspiracies between Microsoft and Compaq and Microsoft and Dell. Dickson, 309

F.3d at 210 (internal quotations omitted). Because plaintiffs did not “allege a conspiracy among

Microsoft and all OEMs,” the district court “correctly determined that it could not consider the

cumulative harm of Microsoft’s agreements with all OEMs” but could only “consider—

individually—Microsoft’s agreements with Compaq and Dell to evaluate each agreement’s

potential for anticompetitive effects.” Id. (emphasis added). By contrast, the challenged non-

compete agreements here were between the same two parties—Surescripts and RelayHealth—

and both had the anticompetitive effect of neutralizing RelayHealth as a competitive threat.

           PLAINTIFFS HAVE ADEQUATELY ALLEGED A RESTRAINT OF TRADE
           CLAIM AGAINST SURESCRIPTS AND ALLSCRIPTS (COUNTS IV AND
           VIII).

       Plaintiffs sufficiently plead a Sherman Act Section 1 claim against Allscripts regardless

of whether the rule of reason or per se analysis is applied. As set forth above, group boycotts are

per se unlawful under the Sherman Act, while exclusive dealing arrangements are unlawful

under the rule-of-reason if they foreclose competition in a substantial share of the line of

commerce at issue. Per se analysis applies to “certain agreements or practices which because of

their pernicious effect on competition and lack of any redeeming virtue are conclusively

presumed to be unreasonable and therefore illegal without elaborate inquiry as to the precise

harm they have caused or the business excuse for their use.” Cont’l T.V. v. GTE Sylvania, 433

U.S. 36, 49 (1977). Group boycotts are per se illegal. See, e.g., Klor’s, Inc. v. Broadway-Hale

Stores, Inc., 359 U.S. 207, 212 (1959). So are concerted refusals to deal. See Spray-Rite Serv.



                                                 29
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 41 of 58 PageID #:2442




Corp. v. Monsanto Co., 684 F.2d 1226, 1235 n.4 (1982). Exclusive dealing arrangements are

unlawful under the rule-of-reason “when they foreclose competition in a substantial share of the

line of commerce at issue.” Republic Tobacco Co. v. N. Atl. Trading Co., 381 F.3d 717, 738 (7th

Cir. 2004) (citing Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 320-27 (1961)); Dos

Santos v. Columbus-Cuneo-Cabrini Med. Ctr., 684 F.2d 1346, 1352 (7th Cir. 1982).

       At the motion to dismiss stage, the rule-of-reason inquiry requires the plaintiff to do

nothing more than “identify the relevant market affected by the challenged conduct and allege an

actual adverse effect on competition in the identified market.” Watkins v. Smith, 2012 WL

5868395, at *7 (S.D.N.Y. Nov. 19, 2012); see also In re Dealer Mgmt. Sys. Antitrust Litig., 362

F. Supp. 3d 510, 538–39 (N.D. Ill. 2019). Alleging evidence of market structure and

exclusionary effect is generally “adequate pleading in a rule of reason antitrust case.” Viamedia,

Inc. v. Comcast Corp., 951 F.3d 429, 462 (7th Cir. 2020). Here, Plaintiffs have alleged sufficient

facts to support combination-in-restraint-of-trade claims against Allscripts under both per se and

rule-of-reason analytical frameworks for group boycotts, concerted refusals to deal, and

exclusive dealing.

       Surescripts’ exclusive arrangement with Allscripts, a critical EHR with access to a

substantial prescriber population, was an important component of the anticompetitive scheme

alleged in this case. As one of the few EHRs multihoming, Allscripts provided an opportunity

for e-prescribing networks competing with Surescripts to connect to Allscripts’ centralized “hub”

of prescriber customers and expand their networks. See SAC ¶ 172. Emdeon, for example,

connected to Allscripts and routed prescriptions between its pharmacy customers and Allscripts’

prescriber customers. Id., ¶ 173. Access to Allscripts’ sizable prescriber base made Emdeon

more attractive to pharmacy customers. Allscripts would help Emdeon reach critical mass, and



                                                30
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 42 of 58 PageID #:2443




Surescripts recognized Allscripts as one half of the solution to Emdeon’s “chicken-and-egg”

problem. Id., ¶¶ 173-174.

       Because it realized that the “key to Emdeon is Allscripts,” Surescripts sought to “contain”

Emdeon’s “access to [prescribers]” by striking a deal with Allscripts to route transactions

exclusively over the Surescripts network. Id., ¶¶ 174, 179-180. Surescripts leveraged its status

as a “must-have” pharmacy partner to negotiate an anticompetitive deal that required Allscripts

to terminate its routing connection to the Emdeon network. Id., ¶¶ 179-182, 186. In return,

Surescripts provided Allscripts with “enhanced” revenue sharing. Id., ¶ 187. As a result of the

contract with Allscripts (a critical EHR representing 25% of Surescripts’ routing and eligibility

transactions), Surescripts not only eliminated Emdeon as a competing routing provider but other

potential competitors as well. Id., ¶¶ 172, 179-208, 310-313. Surescripts thus was able to obtain

at least a 95% share of the routing market and effectively foreclose at least 70% of each market

through its loyalty contracts. Id., ¶¶ 2-3, 309.

       The Allscripts-Surescripts Agreement was critical in locking up the eligibility market

which, in turn, helped Surescripts maintain its stranglehold over the routing market. The

arrangement ensured that no aspiring routing competitor would have access to Allscripts’ cache

of e-prescriptions. The facts alleged show support for both group boycott (per se unlawful) and

exclusive dealing (unlawful under the rule of reason) theories of liability.

               Plaintiffs adequately plead market power and actual detrimental effects on
               competition.

       For antitrust purposes, market power “is the power to force a purchaser to do something

that he would not do in a competitive market.” Eastman Kodak Co. v. Image Tech. Servs.,

Inc., 504 U.S. 451, 464 (1992) (internal quotation marks omitted). “It has been defined as the

ability of a single seller to raise price and restrict output.” Id. (internal quotation marks omitted).


                                                   31
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 43 of 58 PageID #:2444




Market power is a surrogate for actual detrimental effects and is not necessary where evidence of

the latter is established. FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 460-61 (1986).

       Plaintiffs clearly allege the Surescripts-Allscripts Agreement had an actual detrimental

effect on competition by foreclosing Emdeon, the single-most threatening competitor to

Surescripts, from the market. Plaintiffs allege that Allscripts had the market power to make or

break the success of both Surescripts and competitor Emdeon in the routing and eligibility

markets. SAC ¶¶ 172-174. The Allscripts-Surescripts Agreement required Allscripts to sever its

connection with Emdeon, a devastating blow that pushed Emdeon out of the market. Id., ¶¶ 179-

182, 207-208. By removing Emdeon as a competitive threat, the Allscripts-Surescripts

agreement resulted in “economic pain” for pharmacy customers and, ultimately, a 566-1700%

increase in price per routing transaction. Id., ¶ 239. Plaintiffs also allege the Allscripts-

Surescripts agreement reduced service quality and innovation in the routing and eligibility

markets. Id., ¶¶ 241-242, 244, 249-257. Thus, Plaintiffs have pleaded that the Allscripts-

Surescripts agreement caused actual detrimental effects on competition in the market, and

therefore Plaintiffs have sufficiently alleged that Allscripts had market power. See Ind. Fed’n of

Dentists, 476 U.S. at 460-61.

       Finally, the authority Allscripts relies on is easily distinguishable from the present case.

In Dickson v. Microsoft Corp., the court affirmed dismissal of defendants Compaq and Dell for

failure to allege market power because the plaintiff claimed that evidence of Compaq’s and

Dell’s market power was immaterial to their ability to influence competition in the relevant

market, and instead asserted that proof of defendant Microsoft’s market power alone was

sufficient to plead claims against Compaq and Dell. 309 F.3d 193, 209-11 (4th Cir. 2002).




                                                  32
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 44 of 58 PageID #:2445




Plaintiffs take no such position here. Plaintiffs allege that Allscripts’ own market power resulted

in actual detrimental effects on the relevant markets.

               Plaintiffs adequately allege substantial foreclosure.

       The Court can similarly dispose of Defendants’ argument that Plaintiffs have not alleged

substantial foreclosure. Substantial foreclosure is “one of several factors [courts] examine in

determining whether the conduct harmed competition,” but “[t]he ultimate question remains

whether the defendant’s conduct harmed competition.” McWane, Inc. v. F.T.C., 783 F.3d 814,

835 (11th Cir. 2015). “Foreclosure occurs when the opportunities for other traders to enter into

or remain in the market are significantly limited by the exclusive dealing arrangements.” Id. at

837 (internal quotation marks omitted). “Substantial foreclosure allows the dominant firm to

prevent potential rivals from ever reaching ‘the critical level necessary’ to pose a real threat to

the defendant’s business.” ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 286 (3d Cir. 2012)

(quoting United States v. Dentsply International, Inc., 399 F.3d 181, 191 (3d Cir. 2005)).

       Plaintiffs allege that the Allscripts-Surescripts agreement prevented competitor Emdeon

from being able to reach the critical mass needed to pose a real competitive threat. SAC ¶¶ 173-

174. By removing Emdeon as a competitive threat via the Allscripts-Surescripts Agreement,

Allscripts helped Surescripts foreclose at least 70-80% of each of the relevant markets. Id., ¶¶

227-229. But for Allscripts’ agreement to cut Emdeon off, the harm to competition would not

have occurred. Id., ¶ 250. Plaintiffs have pleaded sufficient facts to show that Allscripts’

conduct harmed competition by foreclosing Emdeon as a potential competitive threat.

       Defendants’ reliance on Dickson is again misplaced. To establish that an alleged restraint

has had an anticompetitive effect on the market, a plaintiff “may establish either (1) that the

restraint had an “actual detrimental effect” on competition, or (2) that the restraint had the



                                                 33
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 45 of 58 PageID #:2446




potential for genuine anticompetitive effects and that the conspirators had market power in the

relevant market.” Procaps S.A. v. Patheon, Inc., 845 F.3d 1072, 1084 (11th Cir. 2016). In

Dickson, the Court applied the latter test, finding that “absent an allegation regarding Compaq’s

or Dell’s power or share in the PC market, there is no basis in Gravity’s complaint for

concluding that either of the two licensing agreements at issue, when considered individually, are

likely to foreclose a significant share of the relevant software markets.” 309 F.3d at 209. Here,

however, Plaintiffs allege both market power and actual detrimental effects, as opposed to the

mere possibility of anticompetitive effects. Because Plaintiffs plead that Allscripts’ exclusive

dealing arrangement significantly limited the opportunity for competitors, like Emdeon, to enter

into or remain in the market, Plaintiffs sufficiently plead substantial foreclosure. See McWane,

783 F.3d at 837.

           ALLSCRIPTS, AS A BUYER AND SELLER, IS A PROPER DEFENDANT
           FOR AN EXCLUSIVE DEALING CLAIM.

       Allscripts is competitively situated as both a seller and a buyer of the services in the

exclusive dealing arrangement alleged by Plaintiffs. Allscripts attempts to wash its hands of its

role as a seller in order to avoid liability under section 1 of the Sherman Act. The Court should

reject Allscripts’ argument because Plaintiffs have alleged facts showing that Allscripts’

involvement in the anticompetitive arrangement is more than that of a mere buyer.

       Allscripts bases its argument on a District of Columbia decision, Genetic Systems Corp.

v. Abbot Labs, 691 F. Supp. 407, 416 (D.D.C. 1988), in which the court dismissed exclusive

dealing claims brought by a competing seller against a buyer of blood test equipment. In Genetic

Systems, the court based its decision in part on “the fundamental antitrust concept that the alleged

sins of sellers should not be visited on buyers because of the risk of chilling competition.” Id. at

415.


                                                 34
 Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 46 of 58 PageID #:2447




       Allscripts’ argument is misplaced for a number of fundamental reasons. Most obviously,

Allscripts did not purchase e-prescribing services from Surescripts; it received payments from

Surescripts in exchange for exclusively using Surescripts for its EHR/prescribers’ and PBM

clients’ needs. See SAC ¶ 187. Allscripts agreed to phase out its independent connections with

PBMs in the eligibility market as part of its deal with Surescripts. Id., ¶¶ 176, 183. The

“fundamental antitrust concept” regarding a buyer’s liability announced in Genetic Systems

simply does not apply here. See 691 F. Supp. at 415. Allscripts is a seller and aggregator of

physician-side records and prescriptions, and it is in that role—as a seller or “supplier” of e-

prescriptions—that Allscripts’ impact in the anticompetitive scheme most directly impacts

Plaintiffs here (pharmacy “consumers” of e-prescriptions). Allscripts does not receive immunity

in this case because it also acts as a buyer and broker of other e-prescription related products and

services.

       By accepting payment from Surescripts in exchange for exclusivity and by terminating

the sale of its own eligibility services, Allscripts joined Surescripts’ anticompetitive scheme and

restricted competition.

            PLAINTIFFS HAVE PLED A PLAUSIBLE CONSPIRACY BETWEEN
            ALLSCRIPTS AND SURESCRIPTS.

       Allscripts’ claim that Plaintiffs have failed to allege a plausible conspiracy fares no

better. Allscripts myopically suggests that it merely received incentive payments from

Surescripts, and that the receipt of payments pursuant to the terms of a contract do not establish a

conspiracy. But Plaintiffs allege far more than this. Plaintiffs allege that Allscripts knew it

needed to contract with Surescripts in order to connect with its pharmacies and PBMs, and that

Surescripts knew that locking up Allscripts was key to preventing Emdeon or any other

alternative e-prescribing models from obtaining significant market share. Instead of fighting


                                                 35
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 47 of 58 PageID #:2448




back, Allscripts agreed to join Surescripts’ efforts to foreclose the routing and eligibility markets

from competitors. SAC ¶¶ 186-87. To meet both sides’ needs, Allscripts and Surescripts agreed

that, in exchange for a share of the monopoly profits, Allscripts would terminate its routing

connection with Emdeon; phase out its eligibility contracts with certain PBMs; facilitate a

meeting between Surescripts and any entity that sought to do business in eligibility and routing;

and regularly remind its sales and business development personnel of their obligations under the

Surescripts-Allscripts agreement. Id., ¶¶ 182-85. Plaintiffs further allege that the terms and

conditions of the Surescripts-Allscripts agreement unreasonably restrained trade by preventing

nascent competitors from accessing Allscripts’ sizable market share. Id., ¶ 310. No more is

needed to allege a conspiracy, as parties that enter into a contract whose terms and conditions

unreasonably restrain trade also “conspire” to restrain trade under the Sherman Act. See United

States v. Nunez, 673 F.3d 661, 664 (7th Cir. 2012); see also Fed. Trade Comm’n v. Vyera

Pharm., LLC, No. 20-cv-706, 2020 WL 4891311, at *10 (S.D.N.Y. Aug. 18, 2020) (explaining

that the restrictive terms of the contract “made it obvious” that the parties “were agreeing to

engage in anticompetitive conduct”).18 Thus Plaintiffs have adequately pled Allscripts’

involvement in the conspiracy.19

         Trying to portray itself as a victim, Allscripts further claims that Plaintiffs have failed to

allege a conspiracy because they alleged facts showing that the agreement harmed Allscripts, and



18
  The case that Allscripts cites in support of this argument is easily distinguishable. Marion Healthcare,
LLC v. Becton Dickinson & Co. was a hub-and-spoke case in which the Seventh Circuit held that
contracts between the hub and spokes did not establish a conspiracy between the spokes. 952 F.3d 832,
842 (7th Cir. 2020). Plaintiffs have satisfied Marion here. See supra, Section I.A.2.
19
  Allscripts’ suggestion that it is no different than the other EHRs who were not named as defendants in
this litigation is of no moment. “A private plaintiff need not sue all coconspirators but may choose to
proceed against any one or more of them.” Wilson P. Abraham Const. Corp. v. Texas Indus., Inc., 604
F.2d 897, 904 n.15 (5th Cir. 1979).


                                                    36
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 48 of 58 PageID #:2449




that Allscripts wanted to “get out” of it. The Court can quickly dispose of this argument. “[T]he

‘combination or conspiracy’ element of a section 1 violation is not negated by the fact that one or

more of the co-conspirators acted unwillingly, reluctantly, or only in response to coercion.”

MCM Partners, Inc. v. Andrews-Bartlett & Assocs., Inc., 62 F.3d 967, 973 (7th Cir. 1995);

Isaksen v. Vt. Castings, Inc., 825 F.2d 1158, 1163 (7th Cir. 1987) (“The fact that Isaksen may

have been coerced into agreeing is of no moment; an agreement procured by threats is still an

agreement for purposes of section 1.”).20 The fact that Allscripts might have preferred a different

deal does not excuse its liability under the Sherman Act, particularly since it earned a share of

monopoly profits from the agreement. See United States v. Paramount Pictures, Inc., 334 U.S.

131, 161 (1948) (explaining that the fact that “large exhibitors . . . fathered the illegal practices

and forced them onto the defendants . . . does not help the defendants.”).

         Finally, Allscripts claims that Plaintiffs have failed to allege a plausible conspiracy

because the facts as pled could just as easily show that Allscripts engaged in unilateral, rational

business behavior. This argument fails for two reasons. First, even if Allscripts’ competing

assessment of the allegations was accurate, “[t]he choice between two plausible inferences that

may be drawn from factual allegations is not a choice to be made by the court on a Rule 12(b)(6)




20
  For this point, Allscripts relies on the distinguishable Car Carriers, Inc. v. Ford Motor Co., 745 F.2d
1101 (7th Cir. 1984). There, the plaintiff haul-away company sued Ford after it terminated the plaintiff’s
contract and entered into an exclusive contract with a new company for transport services. Id. at 1104.
The plaintiff claimed that the exclusive contract violated federal antitrust law. Id. The court rejected this
claim, holding that because “Ford . . . could ‘dictate[] and control[]’ the tariffs of its suppliers,” it was
implausible that Ford would enter into a contract that would cause it to pay higher prices. Id. at 1109.
Here, Plaintiffs do not allege that Allscripts had the power to control Surescripts’ prices. In fact,
Plaintiffs allege nearly the opposite—that Allscripts conspired with Surescripts in order to keep its own
payments at a supracompetitive level. Unlike the conspiracy alleged in Car Carriers, this is an entirely
plausible outcome: Surescripts even titled the Allscripts’ proposal “HERE COMES THE BRIBE.” SAC
¶¶ 187, 311.


                                                     37
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 49 of 58 PageID #:2450




motion.” Anderson News LLC v. American Media, Inc., 680 F.3d 162, 185 (2d. Cir. 2012). This

is true even if the Court finds Allscripts’ version “more plausible.” Id.21

         Second, Allscripts’ claim that it acted unilaterally is nonsensical. Plaintiffs are not

relying on allegations of parallel decision-making alone, without more, as was the case in the

authorities cited by Allscripts. See Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 761

(1984) (explaining difference between unilateral and concerted price setting); Kendall v. Visa

USA, Inc., 518 F.3d 1042, 1049 (9th Cir. 2008) (rejecting claim that alleged bank followed

interchange fee in determining merchant discount fee). Plaintiffs allege the Surescripts-

Allscripts agreement is direct evidence of a quid pro quo. Surescripts agreed to cut Allscripts in

on the monopoly profits. In return, Allscripts agreed to terminate its relationship with Emdeon,

phase out its direct connections to PBMs, and refer entities that wanted to work directly with

Allscripts to Surescripts instead. Plaintiffs need not allege any more to show concerted action.

See Albert H. Cayne Equip. Corp. v. Union Asbestos & Rubber Co., 220 F. Supp. 784, 787

(S.D.N.Y. 1963) (“A contract between a seller and a buyer . . . is enough to satisfy the joint

conduct requirement of Section 1 of the Sherman Act.”). It is undisputed that there is a written

agreement between Surescripts and Allscripts; Plaintiffs have pled a plausible conspiracy.

            THE COURT SHOULD MAINTAIN PLAINTIFFS’ STATE LAW CLAIMS
                Named plaintiffs can assert claims under the laws of states where they did
                not do business on behalf of putative class members.

         Ignoring binding Seventh Circuit precedent to the contrary, Surescripts contends that

Plaintiffs lack “standing” to assert state laws claims in states where they do not operate.


21
   Allscripts cites Stewart Glass & Mirror, Inc. v. U.S. Auto Glass Disc. Ctrs., Inc. in support of this
argument. 200 F.3d 307, 313 (5th Cir. 2000). That case was decided at summary judgment, where the
standard is materially different. Id.




                                                   38
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 50 of 58 PageID #:2451




Surescripts Mem. at 25. This is incorrect. To establish Article III standing, it is only necessary

to demonstrate three elements: “(1) a concrete and particularized injury in fact that is (2) fairly

traceable to the alleged action of the defendant and (3) likely to be redressed by a favorable

decision.” McGarry & McGarry, LLC v. Bankr. Mgmt. Sols., Inc., 937 F.3d 1056, 1063 (7th Cir.

2019) (internal quotations and citation omitted). “[T]he question of who is authorized to bring

an action under a statute is one of statutory interpretation; it does not implicate Article III

standing or jurisdiction.” Woodman’s Food Mkt., Inc. v. Clorox Co., 833 F.3d 743, 750 (7th Cir.

2016) (citing Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014)).22

“Because statutory standing is not jurisdictional, there is no constitutional imperative that the

named plaintiff himself have a valid claim under every legal theory he proposes to assert on

behalf of a class.” Muir v. Nature’s Bounty (DE), Inc., No. 15 C 9835, 2018 WL 3647115, at *7

(N.D. Ill. Aug. 1, 2018) (emphasis in original; citing Morrison, 649 F.3d at 535-38).

         At this stage, once standing is established nothing further is needed. As the Seventh

Circuit has instructed, only “once a class is properly certified, statutory and Article III standing

requirements must be assessed with reference to the class as a whole, not simply with reference

to the individual named plaintiffs.” Payton v. Cty. of Kane, 308 F.3d 673, 680 (7th Cir. 2002)

(emphasis added). Indeed in Lewis v. Casey, a case Surescripts relies on,23 the Supreme Court


22
   See also Morrison v. YTB Int’l, Inc., 649 F.3d 533, 536 (7th Cir. 2011) (“Plaintiffs have standing if they
have been injured, the defendants caused that injury, and the injury can be redressed by a judicial decision
. . . . If the Illinois Consumer Fraud Act law does not apply because events were centered outside Illinois,
then plaintiffs must rely on some other state’s law; this application of choice-of-law principles has nothing
to do with standing”) (emphasis in original); Liston v. King.com, Ltd., 254 F. Supp. 3d 989, 1000 (N.D. Ill.
2017) (“The question of what legal theories [plaintiff] may advance as bases for recovering damages for
his injury does not implicate Article III standing; the availability of any particular legal theory presents a
question of substantive law.”) (Tharp, J.); In re Opana ER Antitrust Litig., 162 F. Supp. 3d 704, 722 (N.D.
Ill. 2016) (“Article III’s injury-in-fact requirement ‘has nothing to do with the text of the statute relied
upon.’”) (quoting Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 97 (1998).
23
  Defendants cite Lewis for the unremarkable proposition that named plaintiffs must allege that they,
themselves, have been injured. Surescripts Mem. at 25. Plaintiffs here have done just that. See SAC ¶¶

                                                     39
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 51 of 58 PageID #:2452




stated that “[w]hether or not the named plaintiff who meets individual standing requirements

may assert the rights of absent class members is neither a standing issue nor an Article III case or

controversy issue but depends rather on meeting the prerequisites of Rule 23 governing class

actions.” 518 U.S. 343, 395-96 (1996) (Souter, J., concurring) (quoting 1 H. Newberg & A.

Conte, Newberg on Class Actions § 2.07, pp. 2-40 to 2-41 (3d ed.1992)).24

          Accordingly, “the trend has been to treat the issue as one of statutory standing that can

be deferred until class certification.” In re Dealer Mgmt. Sys. Antitrust Litig., 362 F. Supp. 3d

510, 548 (N.D. Ill. 2019) (denying motion to dismiss state-law claims in states where no named

plaintiff operates and deferring issue to class certification); see also Sandee’s Catering v. Agri

Stats, Inc., No. 20 C 2295, 2020 WL 6273477, at *5 (N.D. Ill. Oct. 26, 2020) (same); City of

Rockford v. Mallinckrodt ARD, Inc., 360 F. Supp. 3d 730, 759 (N.D. Ill. 2019), reconsideration

denied, No. 17 C 50107, 2019 WL 2763181 (N.D. Ill. May 3, 2019) (same); Muir, 2018 WL

3647115, at *8 (same); Liston, 254 F. Supp. 3d at 1001-02 (same); In re Broiler Chicken

Antitrust Litig., 290 F. Supp. 3d 772, 810 (N.D. Ill. 2017) (same); Opana, 162 F. Supp. 3d at 722

(same).25 The Court should follow this trend and address these issues at class certification.




268-69 (explaining that, because of Defendants’ illegal conduct, Plaintiffs paid artificially inflated prices
for routing transactions).
24
  Surescripts also cites DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) which holds that “a
plaintiff must demonstrate standing for each claim he seeks to press.” This is non-controversial. While
Plaintiffs “seek redress under multiple legal theories, they satisfy the injury-in-fact, causation, and
redressability requirements of Article III for each of these claims.” Muir, 2018 WL 3647115, at *6
25
  Surescripts cites In re Dairy Farmers of America Inc. Cheese Antitrust Litig., No. 9 CV 3690, 2013 WL
4506000, at *8 (N.D. Ill. Aug. 23, 2013) in support of its argument but Dairy Farmers has been criticized
for failing to address the Supreme Court’s reasoning in Lewis and Payton: “Dairy Farmers failed to
account for the fact that in Payton the named plaintiffs—like the named plaintiffs here—were able to
establish their own standing apart from that of the class . . . . As the Supreme Court put it in Lewis, ‘the
standing issue focuses on whether the plaintiff is properly before the court, not whether represented
parties or absent class members are properly before the court.’” Broiler Chicken, 290 F. Supp. 3d at 810.


                                                     40
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 52 of 58 PageID #:2453




                Defendants’ other arguments for dismissal of Plaintiffs’ state law claims are
                baseless.

                1. Plaintiffs may assert Illinois and Montana claims on behalf of a Class.

         Surescripts argues that only the Illinois Attorney General may bring a class action on

behalf of indirect purchasers under the Illinois Antitrust Act (“IAA”). Surescripts Mem. at 27.

However, even if Plaintiffs were considered “indirect purchasers” without valid federal damages

claims, multiple courts in and outside of this district have held, under Shady Grove Orthopedic

Assocs. v. Allstate Insurance Co., 559 U.S. 393, 406 (2010),26 that procedural restrictions in the

state-law IAA cannot limit Rule 23’s class action procedure under federal law. See, e.g., City of

Rockford, 360 F. Supp. 3d at 765 (agreeing with courts that have found that the Illinois class

action bar was not substantive under Shady Grove and thus denying defendants’ motions to

dismiss plaintiffs’ class action antitrust claims based on the IAA) (citing authorities); Broiler

Chicken, 290 F. Supp. 3d at 817 (finding that “Shady Grove’s reasoning with respect to New

York’s class action ban is equally applicable to Illinois’s requirement that class actions be

brought by the Attorney General” and permitting Illinois indirect purchaser antitrust class claims

to proceed); Hatchett v. Henry Schein, Inc., No. 3:19-CV-83, 2020 WL 733834, at *4 (S.D. Ill.

Feb. 13, 2020).27


26
   In Shady Grove, the Supreme Court held that, in diversity actions, Fed. R. Civ. P. 23 preempts state
laws restricting class actions and will control unless the federal rule interferes with substantive state law
rights. The Court explained: “Rule 23 unambiguously authorizes any plaintiff, in any federal civil
proceeding, to maintain a class action if the Rule’s prerequisites are met. We cannot contort its text, even
to avert a collision with state law that might render it invalid.” 559 U.S. at 406 (emphasis in original).
27
   In support of its argument, Surescripts cites In re Packaged Seafood Prod. Antitrust Litig., 242 F. Supp.
3d 1033, 1070 (S.D. Cal. 2017). There, the court erroneously applied its analysis of the Arkansas
antitrust statute to the IAA. Id. Under the Arkansas statute, “indirect purchasers have no individual claim,
no class claim; no claim pursuant to their discretion, period.” Id. 1069. The IAA, on the other hand, does
allow indirect purchasers to assert antitrust claims, just not as a class. 740 Ill. Comp. Stat. 10/7(2). EPPs
recognize that “whether indirect purchasers can bring suit at all, even individually—is certainly
substantive in that it affects the ‘rights and remedies’ of indirect purchasers.” Broiler Chicken, 290 F.
Supp. 3d at 818. “But whether such plaintiffs may bring a class action does not affect their substantive

                                                     41
  Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 53 of 58 PageID #:2454




        Surescripts also argues that Montana’s Unfair Trade Practices and Consumer Protection

Act prevents Plaintiffs from proceeding with a class action in federal court. Surescripts Mem. at

27. But for the same reasons that support allowing Plaintiffs’ class claims under the Illinois

Antitrust Act to proceed, Plaintiffs’ claims under the Montana statute should also move forward.

See Broiler Chicken, 290 F. Supp. 3d at 820 (rejecting defendants’ argument that plaintiffs were

prevented from bringing their Montana consumer protection claim “for the reasons stated with

respect to the indirect purchaser class action bar under Illinois’s antitrust statute”).

                2. Plaintiffs can assert claims under Utah’s antitrust law.

        Surescripts argues that Utah’s antitrust law’s residency requirement deprives Plaintiffs

standing to bring a Utah antitrust claim. Surescripts Br. at 29. This is incorrect, as “[a]llegations

that members of the putative class presumably include Utah citizens and residents are sufficient

to overcome a motion to dismiss.” Hosp. Auth. of Metro. Gov’t of Nashville v. Momenta Pharm.,

Inc., 353 F. Supp. 3d 678, 696 (M.D. Tenn. 2018); see also Staley v. Gilead Scis., Inc., 446 F.

Supp. 3d 578, 629 (N.D. Cal. 2020); In re Zetia (Ezetimibe) Antitrust Litig., 400 F. Supp. 3d 418,

434 (E.D. Va. 2019). Here, Plaintiffs’ class definition includes “[a]ll pharmacies in the United

States and its territories,” SAC ¶ 274, which would by definition include Utah, and therefore the

requirement of the statute is satisfied. There is no requirement that any of the named plaintiffs

actually reside or do business in Utah. See Zetia, 400 F. Supp. 3d at 435 (“[A] class

representative that is not a Utah citizen or resident may bring claims on behalf of absent class

members who are citizens or residents of Utah.”).




rights.” Id. Surescripts also cites a state court decision, Gaebler v. New Mexico Potash Corp., 676 N.E.2d
228 (1996). This case is inapposite as the Federal Rules of Civil Procedure do not apply to procedural
issues in state court litigation.


                                                    42
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 54 of 58 PageID #:2455




                3. Plaintiffs may seek damages under Connecticut, Maryland, and Rhode
                   Island antitrust laws.

         Plaintiffs do not dispute that the statutes “repealing” Illinois Brick were passed in Rhode

Island in 2013, Maryland in 2017, and Connecticut in 2018. Surescripts Br. at 28. Plaintiffs

seek prospective application of these laws to redress overcharges suffered by Plaintiffs and the

class post-enactment for each state respectively.

                4. Surescripts monopolized the relevant market through concerted action in
                   violation of California and New York law.

         Surescripts contends that Plaintiffs cannot state monopolization claims under New York

and California antitrust laws because those states’ laws do not prohibit unilateral conduct.

Surescripts Mem. at 29. Plaintiffs do not concede that Surescripts’ view of those states’ laws is

correct,28 but even if it were, Plaintiffs have pled concerted multilateral conduct. Specifically,

Plaintiffs pled that (1) Surescripts entered into agreements with RelayHealth that prohibited

RelayHealth from competing in the routing market (SAC ¶¶ 159-70) and (2) Surescripts offered

Allscripts increased monetary incentives in exchange for an exclusivity agreement that prevented

potential competitors from entering the routing and eligibility markets (Id., ¶¶ 172-97).

         Because Plaintiffs “plead some sort of concerted action in support of its non-conspiracy

monopolization claims,” the Court should not dismiss monopolization claims under New York or

California antitrust laws. Sergeants Benevolent Ass’n Health & Welfare Fund v. Actavis, plc,

No. 15 CIV. 6549, 2018 WL 7197233, at *27-28 (S.D.N.Y. Dec. 26, 2018) (upholding New

York monopolization claims); In re Effexor Antitrust Litig., 357 F. Supp. 3d 363, 394 (D.N.J.


28
  For example, the California claim survives even assuming that Plaintiffs had only alleged unilateral
conduct. California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq., permits
a claim of unfair competition based on unilateral conduct for injunctive relief and restitution. See In re
EpiPen (Epinephrine Injection, USP) Mktg., Sales Practices & Antitrust Litig., 336 F. Supp. 3d 1256, 1313
(D. Kan. 2018) (citing authorities).


                                                   43
     Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 55 of 58 PageID #:2456




2018) (same); N. Cty. Commc’ns Corp. v. Verizon New York, Inc., 233 F. Supp. 2d 381, 385

(N.D.N.Y. 2002) (upholding claim for monopolistic activities under New York’s antitrust law

where plaintiff “allege[d] a conspiracy or some agreement among [defendants and/or their]

affiliates to corner the telecommunications market in New York City”); In re Keurig Green

Mountain Single-Serve Coffee Antitrust Litig., 383 F. Supp. 3d 187, 265 (S.D.N.Y. 2019),

reconsideration denied, No. 14-MD-2542, 2019 WL 2603187 (S.D.N.Y. June 25, 2019)

(complaint “adequately allege[d] concerted conduct” and upholding claim under California

statute).29

                5. Plaintiffs can recover under the Missouri Merchandise Practices Act.

         Contrary to Surescripts’ argument, Surescripts Br. at 29, Plaintiffs are permitted to bring

claims as “persons” under the Missouri statute, as the statute defines “person” to include entities.

See Mo. Rev. Stat. § 407.010(5) (“‘Person’, any natural person or his legal representative,

partnership, firm, for-profit or not-for-profit corporation, whether domestic or foreign, company,

foundation, trust, business entity or association . . . .”); see also In re TFT-LCD (Flat Panel)

Antitrust Litig., No. M 07-1827, 2011 WL 3268649, at *6 (N.D. Cal. July 28, 2011) (certifying

an indirect purchaser class under MMPA of “all persons and entities”) (emphasis added). The

personal use limitation applies to the nature and intended use of the merchandise, not to the

identity of the purchaser. See Staley v. Gilead Scis., Inc., 446 F. Supp. 3d 578, 640 (N.D. Cal.

2020) (upholding plaintiffs’ Missouri Consumer Protection claim and noting “the absence of



29
   Surescripts’ cases are distinguishable because, in each, the courts dismissed monopolization claims
relating to unilateral conduct—not concerted conduct, as we have here. See MiniFrame Ltd. v. Microsoft
Corp., No. 11 CIV. 7419, 2013 WL 1385704, at *7 (S.D.N.Y. Mar. 28, 2013), aff'd, 551 F. App’x 1 (2d
Cir. 2013) (dismissing New York antitrust claim), Asahi Kasei Pharma Corp. v. CoTherix, Inc., 204 Cal.
App. 4th 1, 19 (Cal. Ct. App. 2012) (dismissing California antitrust claim), and EpiPen, 336 F. Supp. 3d
at 1346 (dismissing California antitrust claim).


                                                   44
  Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 56 of 58 PageID #:2457




legislative history indicating that a consumer is restricted to one who purchases for his, her, or its

own use.”); FTC v. Mylan Lab., Inc., 62 F. Supp. 2d 25, 48-49 (D.D.C. 1999) (personal use

limitation did not exclude the state or state entities); cf. State ex rel. Ford v. Wenskay, 824

S.W.2d 99, 100 (Mo. Ct. App. 1992) (“Remedial statutes should be construed liberally to include

those cases which are within the spirit of the law and all reasonable doubts should be construed

in favor of applicability to the case.”).

                                            CONCLUSION

        WHEREFORE, Plaintiffs respectfully request that the Court deny Defendants’ motions to

dismiss in their entirety.


Dated: January 8, 2021                                 /s/ Kenneth A. Wexler
                                                       Kenneth A. Wexler
                                                       Justin N. Boley
                                                       Tyler J. Story
                                                       WEXLER WALLACE LLP
                                                       55 West Monroe St., Ste. 3300
                                                       Chicago, IL 60603
                                                       Telephone: (312) 346-2222
                                                       Fax: (312) 346-0022
                                                       kaw@wexlerwallace.com
                                                       jnb@wexlerwallace.com
                                                       tjs@wexlerwallace.com

                                                       Tyler W. Hudson
                                                       Eric D. Barton
                                                       WAGSTAFF & CARTMELL, LLP
                                                       4740 Grand Avenue, Ste. 300
                                                       Kansas City, MO 64112
                                                       Telephone: (816) 701-1100
                                                       Fax: (816) 531-2372
                                                       thudson@wcllp.com
                                                       ebarton@wcllp.com

                                                       Daniel E. Gustafson
                                                       Karla M. Gluek
                                                       Michelle J. Looby
                                                       GUSTAFSON GLUEK PLLC
                                                       120 South Sixth Street, Ste. 2600

                                                  45
Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 57 of 58 PageID #:2458




                                           Minneapolis, MN 55402
                                           Telephone: (612) 333-8844
                                           Fax: (612) 339-6622
                                           dgustafson@gustafsongluek.com
                                           kgluek@gustafsongluek.com
                                           mlooby@gustafsongluek.com

                                           Robert N. Kaplan, Esq.
                                           Elana Katcher, Esq.
                                           KAPLAN FOX & KILSHEIMER LLP
                                           850 Third Ave., 14th Floor
                                           New York, NY 10022
                                           Telephone: (212) 687-1980
                                           Email: rkaplan@kaplanfox.com
                                           Email: ekatcher@kaplanfox.com

                                           W. Joseph Bruckner
                                           Brian David Clark
                                           Robert Kinney Shelquist
                                           LOCKRIDGE GRINDAL NAUEN P.L.L.P.
                                           100 Washington Avenue South
                                           #2200
                                           Minneapolis, MN 55401
                                           Telephone: (612) 339-6900
                                           Fax: (612) 339-0981
                                           wjbruckner@locklaw.com
                                           bdclark@locklaw.com
                                           rkshelquist@locklaw.com

                                           Jeffrey L. Kodroff
                                           John Macoretta
                                           SPECTOR ROSEMAN & KODROFF, P.C.
                                           2001 Market Street
                                           Philadelphia PA 19103
                                           T: (215) 4960300
                                           jkodroff@srkattorneys.com
                                           jmacoretta@srkatorneys.com

                                           Gregory S. Asciolla
                                           Karin E. Garvey
                                           Jonathan S. Crevier
                                           LABATON SUCHAROW LLP
                                           140 Broadway
                                           New York, NY 10005
                                           Telephone: (212)-907-0700
                                           Fax: (212)-818-0477


                                      46
Case: 1:19-cv-06627 Document #: 169 Filed: 01/08/21 Page 58 of 58 PageID #:2459




                                           gasciolla@labaton.com
                                           kgarvey@labaton.com
                                           jcrevier@labaton.com


                                           Counsel for Plaintiffs and the Proposed
                                           Class




                                      47
